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                              UNITED STATES DISTRJCT COURT
                                 For the District.of New Jersey




KEVIN PLANKER, RYAN PITTENGER, and fellow                                   Civil No.: 14249

ASATRU BELIEVERS,

           Plaintiffs

    V.

LA WREN CE AKINS, MALA CHIA BRANTLEY, WARREN

WILCOX, STEPHEN D'LLIO, MARCUS HICKS, VICTOR

LEE, MICHELLE RICCI, THE STA TE OF NEW JERSEY,                                 Complaint

PHIL MURPHY, UNIVERSITY HEA I TH CARE, THE

UNITED STATES OFAMERlCA, JOHN DOE, JPAY,

and JANE DOE.

           Defendants

                                                                          Jury Trial Demanded



   1. This is a civil-action complaint brought forth on behalf of all Asatru Believers by Kevin

         Plank.er, Ryan Pittinger, and additional named plaintiffs. Kevin Plank.er is currently

         incarcerated in Northern State Prison, 168 Frontage Road, Newark, NJ 07114, and Ryan

         Pittinger was released from Northern State Prison in March of 2020. Plaintiff Ryan

         Pittinger is living at 350-F Shore Rd., Montauge, NJ, 07819, and his mailing address is

         P.O. Box 151, Newton, NJ 07860


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  2. Plaintiffs assert jurisdiction pursuant to 42 U.S.C. 1983, the Religious Land Use and

     Institutionalized Persons Act of 2000, the Religious Freedoms Restoration Act, and

     pendant or supplemental jurisdiction under the New Jersey Tort Claims Act.

  3. Plaintiffs seek preliminary, final, and prospective injunctive relief, Temporary Restraining

     Orders, punitive damages, compensatory damages, nominal damages, and preliminary and

     final declaratory judgments as explained in this complaint.

 4. Plaintiff Number One is Kevin Planker, who was previously incarcerated at New Jersey

     State Prison ("NSJP") at First and Case streets, Trenton, NJ 08625 from November of 1999

     to April of 2017, after which he was temporarily transferred to Northern State Prison

     ("NSP") until being transferred to East Jersey State Prison ("EJSP"), Lock Bag R, Rahway,

     NJ 07065 from January of 2018 until August of 2019, after which he wa_s transferred back

     to Northern Si.ate Prison. Plaintiff Kevin Plank.er is filing this suit on behalf of himself

     and nearly a hundred and seventy named members of Asatru and many unnamed members

     who have recently attempted to practice the religion of Asatru throughout New Jersey's

     Department 0f Conections, on behalf of numerous civilians who have 3.ttempted and/or are

     currently attempting to practice Asatrn as civilians in New Jersey and the United States and

     its territories, on behalf of himself and other people who will be released from institutions

     in the near .future and will attempt to practice Asatru as ex-offenders m New Jersey and the

     United States and its territories, on behalf of himself and other individuals who will attempt

     in the near future, have already attempted, and/or are currently attempting to practice

     Asatru while on probation and parole in New Jersey and the United States ai1d its

     territories, and on behalf ofindividuals who will be incarcerated and/or be sulJjected to the

     conditions of probation and parole in the future and will be subjected to existing

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     restrictions on the ability to practice Asatru in the near future. Plaintiff Kevin Plank.er is

     also filing this suit on behalf of himself and others who have been subjected to disparate

     treat1nent, and who have not been given access to religiously acceptable medical treatment,

     a religious diet and offerings, natural cosmetics and detergents, ritually appropriate food

     preparations, and religious items, areas, and conditions that are necessary for them to

     practice their sincerely held beliefs; as stated in this complaint and additional documents.

     This Plaintiff is also filing suit on behalf of himself and others who have been subjected to

     religious discrimination by Defendant JP A Y's products/services.

  5. Plaintiff Number Two is Ryan Pittinger, who was incarcerated in the NJDOC facilities

     until March 13, 2020, at which time he was released from Northern State Prison. Plaintiff

     Ryan Pittenger is filing this suit on behalf of himself and nearly a hundred and seventy

     named members of Asatru and many unnamed members who have recently attempted to

     practice the religion of Asatru thrnughout New Jersey's Department of Corrections, on

     behalf of numerous civilians who have attempted and/or are currently attempting to

     practice Asatm as civilians in Ne,.v Jersey and the United States and its teffitories, on

     behalf of himself and other people who have been released from institutions and are

     currently attempting to practice Asatru as ex-offenders inNnv Jersey and the lfoited States

     and its territories, on behalf of himself and other individuals who 'Nill attempt in the near

     future, have already attempted, and/or are currently attempting to practice Asatru while on

     probation and parole in New Jersey and the United States and its te1Titories, and on behalf

     of individuals who will be incarcerated and/or be subjected to the conditions of probation

     and parole in the future and will be subjected to existing restrictions on the ability to

     practice Asatru in the near future. Plaintiff Ryan Pittenger is also filing this suit on behalf

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     of himself and others who have been subjected to disparate treatment, and who have not

     been given access to religiously acceptable medical treatment, a religious diet and

     offerings, natural cosmetics and detergents, ritually appropriate food preparations, and

     religious items, areas, and conditions that are necessary for them to practice their sincerely

     held beliefs, as stated in this complaint and additional docurhents. This Plaintiff is also

     filing suit on behalf of himself and others who have been subjected to religious

     discrimination by Defendant JPA Y's products/services.

  6. The followi~1g list consists of only the Named Plaintiffs currently or rece11tly incarcerated

     within NJDOC (including the um1amed plaintiffs, there are over tlu·ee hundred Asatru

     practitioners who have been or are still in the NJDOC within the past two years):

     1. PLANKER, KEVIN, 92676bB
     2. PITTINGER, RYAN. 58441 IC
     3. LUBIL. LOU, 470721
     4. SHEPPARD, AARON
     5. ANEVSK.l, 568897
     6. HES SK ROB, 1097378
     7. ARROYO, 618014
     8. LEPTIEN, JOE, 627478
     9. ARROYO, ANTHONY, 621072
     10. LIMITE, 2000392
     11. ATWELL, LUKE, 1170199
     12. LUCAS, 877138
     13. CASTELLUZZO, CHRIS, 1174062
     14. McKINNON, 639833
     15. CASSELLA, MIKE, 807699
     16. NA YDA, V ADIM, 1077800
     17. WIERSIG, JUSTIN, 1161720
     18. NOLAN, 731331
     19. CEDDA, 1177162
     20. O'BRIEN, KEVIN, 544179
     21. CONWAY, 631655
     22. PATRIACO, SAM, 748695
     23. CHAPMAN, 1096518
     24. WILSON, GARY, 835722
     25. CONDIT, 535114

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     26. ACUNA, STEVE, 872218
     27. COSTELLO, CHRIS, 1183952
     28. RAFFERTY, MIKE, 877799
     29. COLE, 836193
     30. RAMM, HENRY, 246724
     31. CROW, ALEX, 625125
     32. RUARK, 690346
     33. DANISE, RAPHEALLE, 720900
     34. RUCERETO, DANIEL, 456970
     35. DEHAVEN, JAMES, 688345
     36. SABATINI, KEVIN, 70230
     37. DIGISOFFATTE, JOE, 643318
     38. SANDFORD, 639272
     39. DOUGHERTY, JOE, 474151
     40. SMITH, SCOTT, 1005698
     41. FEDO, RON, 738531
     42. SOUTH, JEREMY, 3000929
     43. GEI\TNETT, 1180961
     44. SPRAGG, KEVIN, 528703
     45. GILMAN, 1150442
     46. TERC, 720032
     47. TOZER, WILLIAM 226232
     48. TITUS, 743897
     49. VITELLO, 269806
     50. CERESA, 642326
     .51. SHAVER, ROBERT, 637135
     52. MITCHELL, 769491
     53. BENTLEY, MICHAEL 591529
     54. FRITZ, BRANDON, 604167
     55. BILODEAU, BRANDON, 612196
     56. GOUMNOV, ANDREI, 408273
     57. RASO, DENNIS, 65267
     58. GREEN, I\1ATT, 315187
     59. DICK, PHILLIP, 483719
     60. HARDY, JEFFREY; 641443
     61. THOMSON, DANIEL,
     62. HOWE, ANTHONY, 706172
     63. DIX, ROBERT, 717211
     64. first KELLY, KEVIN (at NSP in 2020)
     65. FARRELL, SEAN, 231953
     66. BEAGELL, DAVID, 772291E
     67. FERRELL, THOMAS, 579951
     68. MALTESE, MIKE, 673715
     69. NICHOLS, DONALD, 644610
     70. MCKEEHAN, BRETT, 877818

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    71. PAGLIAROLI, DAVID, 239236
    72. SULLIVAN, STEVE, 655086
    73. POST, JOE
    74. TAYLOR, TRACEY, 896958
    75. BAKER, JASON, 271063
    76. LONGO, SALVATORE, 151601D
    77. ANDRETTA, JOHN, 498356C
    78. GALLICHIO, JAMES , 739680
    79. GENTRY, JACOB,
    80. FACKRELL, ANDY, 901672
    81. REGISTER, CLIFTON, 1083701
    82. PLOPPERT, MATT, 259164B
    83. SPERRY, TOM, 584066B
    84. TO LDT, VINCENT, 981125B (Released from NSP in October of 2019)
    85. CASSELLA, MICHAEL, 807699
    86. KREVOLT, MARK, 527576C
    87. McCLAREN, NIKLAUS, 101947D
    88. FOY, JOSEPH, 610690B
    89. HOUSER, BRANDON, 916354C
    90. RICCIARDI, RICH, 3] 4189C
    91. McPHERSON, JOE, 309713C
    92. FINE, KEVIN, 360291D
    93 SCOTESE, KYLE, 277682D
    94. ALEXANDER, NICK, 1091938
    95. SHUGIN, lv1ATT, 939763C
    96. LOPEZ. HOWARD, 526507C
    97. ANDER.SAVAGE, ROB,
    98. MYERS, MICHAEL, 1132000
    99. LEGGIE, MICHAEL, 1133579
    100. TINCHER, SHANE, 611307C
    101. HART, 260518
    102. HOFFMAN, WILLIAM
    103. HARRISON, BENJAMIN, 472259C
    104. COLATRELLA, JOE, 337680D
    105. HELM, RODGER,435791
    106. JUSTIN, NATHAN
    107. GALLAGHER, JESSIE,
    108. KOWITT, JEFFREY, 130772H
    109. HEITMAN, PETER, 513452D
    110. BALLARD BRIAN, 101396C
    111. WALKER, DAVID, 204713C
    112. MILLER, STAN, 895854D
    113. MOORE, AARON, 1164342
    114. MIKELS, CHRIS, 513528C
    115. WATSON, JASON, 832045D

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     116. MOREHOUSE, GREG, 8809699C
     117. CLARK, WILLIAM, 473650B
     118. HARDY, JASON, 639368
     119. FREY, THOR, 315106B
     120. RAY ISOLA, 11365C
     121. JEFFEREY, JAMES, 542487E
     122. LOUIS CERESA, 642326
     123. GUNSET, CRAIG, 637004C
     124. HARRRY STORMS, 412161C
     125, SAS, NICK, 475573C
     126. JASON WOLEK, 949023B
     127. ECHBOLDT, WILLIAM,
     128. HONAN, KERRY
     129. MATHE\VS, JAMES, 702797E
     130. HOWARTH, JAMES, 261200C
     131. second KELLY, KEVIN, 180635D (at Southwoods in 2020)
     132. SPANN, ROBERT, 291048C
     133. SEELER, GLEN,
     134. BOZARTH, JOHN, 1660260
     135. GARGANO, JESSE, 372938D
     136. GECKELER, ZACK, 1133518
     137. HAAR. STEVEN. 125768E.
     138. CANTRELL, DAN, OSO181211
     139. HAMV/A_ Y, STEVEN, 390284C
     140. MELILLO, PATRICK, 664593E
     14 l. L'{J\TCH CHARLES, 525800C
     i42. MIKEY Kfr~SELLA, 500017E
     143 HALLSTEIN, AUTHUR, 5035708
     144. WILUArv1 O'DAY, 718250A
     145. MINCHELLA, PETE, 603890E
     146. NOONAN, GEORGE
     147. PREVENDORSKL STEVEN, 2834780
     148. LASASSO, MIKE. 906347E
     149. VISCEL, CHRIS, 444193B
     150. ANDERSON, KIETH, 394057C
     151. WAYDA, CHRIS, 323308C
     152. GREEN, MIKE, 199079C
     153. PINTER, STEVEN, 292661D
     154. VANLEER, JOESEPH, 326376E
     155. CARTY, AUGUSTUS, 641563C
     156. FUSCIARDI, STEVE, 469538C
     157. ROBBINS, STEVEN, 885491D
     158. WISE, MIKE, 467154D
     159. KRUZE, WILLIAM, 253236C
     160. SULLIVAN, JOHN, 741854E

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     161. NIBLIC, DERRICK, 197596D
     162. BONAVITO, GREGORY, 349682E
     163. ZILINSKI, WALTER, 957108B
     164. BAKER, JOSEPH, 482150
     165. BROWER, ROBERT, 953052




                                           DEFENDANTS

  7. Defendant Number One is LA WREN CE AKINS (hereinafter "Defendant Number One" or

     "Defendant Akins"), whose official position is Chaplain of Religious Services at East

     Jersey State Prison ("EJSP") during all periods attributed to him in this complaint, and

     through the date of this complaint. Defendant Akins is being sued in his official capacity

     and individual capacity. Defendant Akins is involved in this case as a result of having

     acted under color of state law, and with malicious intent, to cause the issues attributed to

     him in this complaint, and/or having been directly involved in but neve1iheless ddiberately

     indifferent to the issues Listed in this complaint, by having threatened retaliation and then

     reraliated against Plaintiffs as described in this complaint. and having acted with nrnlicious

     intent to deprive Ph1intiffs of their religious and equal rights at EJSP.

  8. Defendant Number Two is MALA CHIA BRANTLEY (hereinafter "Defendant Number

     Two" or "Defendant Brantley"), whose official position is Chaplain of Religious Services

     at Northern State Prison ("NSP") during all periods attributed to him in this complaint, and

     through the date of this complaint. Defendant Brantley is being sued in his official

     capacity and individual capacity. Defendant Brantley is involved in this case as a result of

     having acted under color of state law, and with malicious intent, to cause the issues




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     attributed to him in this complaint, and/or having been directly involved in but nevertheless

     deliberately indifferent to the issues attributed to him as listed in this complaint.

  9. Defendant Number Three is WARREN WILCOX (hereinafter "Defendant Number Three"

     or "Defendant Wilcox"), whose official positions are Religious Issues Committee member

     and Chaplain of Religious Services at New Jersey State Prison ("NJSP") during all periods

     attributed to him in this complaint, and through the date of this complaint. Defendant

     Wilcox is being sued in his official capacity and individual capacity. Defendant Wilcox is

     involved in this case as a result of having acted under color of state law, and with malicious

     intent, to cause the issues attributed to him in this complaint, and/or having been directly

     involved in but nevertheless deliberately indifferent to the issues attributed to him as listed

     in this complaint.

  10. Defendant Number Four is MARCUS HICKS (hereinafter "Defrnclan1 Number Four" or

     "Defendant Hicks")_ whose official position was Chair of the Religious lssues Committee

     C'R.IC'j for the New Jersey Department of Corrections until approximately the spring of

     2018, mid ,vhose official position has since been Commissioner of the New Jersey

     Department of Corrections during all subsequent periods in \Vhich he is mentioned in this

     complaint and through the date of this complaint. Defendani: Hicks is being sued in his

     official capacity and individual capacity. Defendant Hick::; is involYed in this case as a

     result of having acted under color of state law, and with malicious intent, to cause the

     issues attributed to him in this complaint, and/or having been directly involved in but

     nevertheless deliberately indifferent to the issues attributed to him as listed in this

     complaint.



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   11. Defendant Number Five is VICTOR LEE (hereinafter "Defendant Number Five" or

      "Defendant Lee"), whose official position was and still is Coordinator of Religious

      Services for the New Jersey Department of Corrections during all periods attributed to him

      in this complaint, and through the date of this complaint. Defendant Lee is being sued in

      his official capacity and individual capacity. Defendant Lee is involved in this case as a

      result of having acted rni.der color of state law, and with malicious intent, to cause the

      issues attributed to him in this complaint, and/or having been directly involved in but

      nevertheless deliberately indifferent to the issues attributed to him as listed in this

      complaint.

   12. Defendant Number Six is MICHELLE RICCI (hereinafter "Defendant Ntunber Six" or

      "Defendant Ricci"), whose official positions were and still are Religious Issues Committee

      member and Director of the Division of Operations for the New Jersey DepM1ment of

      Corrections during all periods attributed to her in this complaint, and through the date of

      this compiaint. Defendant Ricci is being sued in her official capacity and individual

      capacity. Defend::rnt Ricci is involved in this case as a result of having acted under color

      of state law, and ·with malicious intent, to cause the issues attributed to her in this

      complaint, and/or havin~ been d.irectly involved in but nevei"theless deliberately indifferent

      to the issues attributed to her as listed in this complaint.

   13. Defendant Number Seven is STEPHEN D'LLIO (hereinafter "Defendant Number Seven"

      or "Defendant D'llio"), whose official position is Assistant Commissioner to the New

      Jersey Department of Corrections during all periods attributed to him in this complaint

      Defendant D'llio is being sued in his official capacity and individual capacity. Defendant

      D 'llio is involved in this case as a result of having acted under color of state law, and with

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      malicious intent, to cause the issues attributed to him in this complaint, and/or having been

      directly involved in but nevertheless deliberately indifferent to the issues attributed to him

      as listed in this complaint.

   14. Defendant Number Eight is THE STATE OF NEW JERSEY ("New Jersey" or "Defendant

      Jersey'').   Deferida:ilt Number Eight is being sued as a: resultof not folly recognizing

      Plaintiffs' religion, depriving Plaintiffs of their religious rights and their rights to equal

      protection, and additionally creating substantial burdens on Plaintiffs as described in this

      complaint, at all times listed in this complaint, and through to the filing dare of this

      complaint.

   15. Defendant Number Nine is PHIL MURPHY ("Defendant Murphy"), whose official

      position has been Governor of the state of New Jersey since January of 2019, through to the

      date of the filing of1his complaint. Defenda11t Murphy is being sued iu his official

      capacity and individual capacity. Defendant :Murphy is involved in this case as a result of

      having been made aware of the conditions described in this compiaint as of :May of 2019 by

      way of legal notices and other notifications and also having played a. direct i·ole in sorne of

      the decisions that led to so!!le of the conditions listed in this complaint, 'vVhich allowed

      Plaintiffs to continue endmiEg and/or caused Plaintiffs to endure significant burdens

      related to their sincerely held religious beliefs from May of 2018 until preser.t :is described

      in this complaint and additional filings.   Defendant Murphy was aware of but nevertheless

      violated known laws regarding the religious rights, equal rights, prison conditions; and

      other issues listed in this complaint and additional filings.

   16. Defendant Number Ten is Universal Healthcare ("Rutgers" or "Defendant Rutgers"), who

      provides healthcare to prisoners within the New Jersey Department of C01Tections.

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      Defendant Number Ten is involved in this case as a result of having acted under color of

      state law and as an individual organization from September 21, 2016 until present to instill

      practices and policies that caused and/or contributed to the suffering described in this

      complaint, and/or having been deliberately indifferent.to the denial of religious rights,

      denial of medical treatment, and the resultant suffering described in this complaint.

   17. Defendant Number Eleven is the UNITED STATES OF AMERICA. Defendant Number

      Eleven is involved in this case as a result of having instilled and selectively upheld or

      enforced laws, rules, policies, and procedures that caused significant burdens and

      deprivations of religious rights and denial of equal rights to Plaintiffs as described in this

      complaint. Defendant Number Eleven is being sued for declaratory and injunctive relief,

      and for nominal, punitive, and compensatory damages as described herein.

   18. Defendant Number Twelve is JOh'N DOE (hereinafier "Defendant Number Eleven" or

      "Defendant Jolm Doe"), whose official position \Vas one at New Jersey Department of

      Conections that allowed Defondant John Doe to have at least one Plaintiff in this case

      shipped out of East Jersey State Prison in August of 2019 in retaiirction for having filed

      administrative and legal complaints against the defendants listed in this complaint.

      Defendant John Doe is being sued in his official capacity and individual capacity.

      Defendant Jo'r.u1 Doe is involved in this case as a result of having acted under color of state

      law, and with malicious intent to cause the retaliations attributed to him in this complaint,

      and/or having been directly involved in but nevertheless deliberately indifferent to the

      retaliations attributed to him in this complaint.

   19. Defendant Number Thirteen is JP A Y ("Defendant JP A Y" or "JPA Y"), who provides a

      tablet, kiosk system, ente1iainment, and access to the DOC's grievance system for prisoners

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      in the New Jersey DOC. Defendant JPA Y is involved in this case as a result of having

      acted in its individual and/or official capacities, under color of state law, to cause, and/or

      having been deliberately indifferent to the causes described in this complaint and the

      attached motion, Defendarit JP A Y discriminated against Plaintiffs by banning ·

      photographs that are required in Plaintiffs'
                                            .
                                                   religion but frowned upon
                                                                         .
                                                                             by other religions,

      and by impeding Plaintiffs' ability to access the grievance system freely. Defendant

      JP A Y caused Plaintiffs in the DOC to be placed in harm as a result of providing a system

      that ensured batteries would rupture and/or explode. Defendant JP A Y thwarted Plaintiffs'

      ability to access the prison grievance system as described in this co!nplaint. Defendant

      JPA Y engaged in bait-and-switch tactics by advertising a "new Player" and a power cord

      and FM radio :with their product, but then providing a used player and not providing a

      pmver cord. and providing a produci. that does not get reception for HvI radio, which led to

      and still leads tc Plaintiffs having tablets that regularly stop working and/or don't work

      properly. having to pay for batteries. and having to purchase music. Defendant JPA Y has

      failed to provide fonds sent to them for Plaintiffs and will not respond to ongoing

      complaints :,bout the missing funds. Defendant JP A Y provided batteries that cannot be

      charged but have to receive a charge from their kiosk system. provided devices that

      regularly step ·.,vorking. advertised services (including e-books and the ne'>vsstand) that

      contributed to Plaintiffs purchasing the JPA Y devices and originally cost money, but don't

      work, and failed to provide enough kiosks for the amount of users and failed to regularly

      upkeep kiosks so Plaintiffs can readily access the grievance system and other JP A Y

      functions. Defendant JP A Y additionally failed to ensure that Plaintiffs' confidential

      medical information is kept confidential from DOC staff Defendant JP A Y is also

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       involved in this case as a result of charging Plaintiffs in the NJDOC for news and books

      that were free, and for not giving Plaintiffs ready access to the content they had within the

      · JP A Y system (leading to songs, books, and other content to be "in the cloud," and/or

      "fetching" for months at a time).

   20. Defendant Number Fourteen is JANE DOE (hereinafter "Defendai1t Number Thirteen'' or

       "Defendant Jane Doe"), whose official position was a position at New Jersey Depaiiment

      of Corrections that allowed Defendant Jane Doe to have 8 Plaintiffs at Northern State

      Prison moved from B-1-East and dispersed tlu·oughout the prison based on their religion.

      Defendant Jane Doe is being sued in her official capacity and individual capacity.

      Defendant Jane Doe is involved in this case as a result of having acted under color of state

      law, and with malicious intent, to cause the discrimination-based behavior attributed to her

      in this complaint, and/or having been directly involved. in but nevertheless deliberately

      indifferent to the retaliations attributed to her in this complaint. Defendant Jane Doe is

      also involved in this case as a result of being deliberately indifferent to Plaintiffs in the

      NJ DOC not having rnte forms of eating utensils, and this Defendant is responsible and/or

      deliberately indifferent to extreme delays in the admi!1istrative grievance system, as

      described in this compbint. Defendant Jane Doe is also responsible for and/or

      deliberately indifferent to issues related to the mattresses and top bunks in the NJDOC.

   21. The preceding paragraphs are implied as if set f01ih in full tlu·oughoutthis complaint, with

      Plaintiffs being collectively referred to as "Organic Believers," "Asatru Members,"

      "Oraa11ic
          b
                Practitioners· ' " "Asatru Believers''
                                                   '
                                                       "Asatru Practitioners- ' " or "Plaintiffs" if not

      specifically named.



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   22. Exhaustion of Remedies. Plaintiffs declare under penalty of pe1jury that they have

      exhausted all administrative remedies for the issues listed in this complaint, through the

      use of paper and electronic inquiries, grievances, grievance appeals, final reviews, appeals

      to the Religious Issues Committee, and appeals to the Division of Operations and the

      Commissioner of the Department of Corrections, and letters to the ombudsinan, followed

      up by appeals and complaints to Defendant Murphy and Tort notices for state claims, and

      all relevant exhaustion has been made regarding claims against the United States of

      America, University Healthcare, and JPA Y.




                                           CLAIMS


                                          Count One

      DEFENDANTS AKINS, WILCOX, AND BRANTLEY HA VE DENIED AND
      CONTINUE TO DENY PLAINTIFFS THE ABIUTY TO }>RACTICE THE
      RELIGION OF ASATRU AS IT HAS ALREADY BEEN 1\.PPRO"VED WITHil·J
      THE 1'-JJDOC, AND DEFEND.~~NTS LEE, RICCI, D'LL.I(), HICKS, MURPHY,
      AI'>JD NEV; JERSEY HA VE BEEN AND CONTINUE TO BE DELIBERATEL\'
      INDIFFER-2NT TO SAID DENIALS.


   23. The NeYv Jersey Department of Corrections ("DOC") issued a 2004 Internal Management

      Procedure ("IMP") document titled "PCS.002.REL.004.Odin/ which requires all

      chaplains within the DOC to allow plaintiffs to 1) congregate for study gatherings and

      worship services, 2) make offerings of food, drink, and music during regularly scheduled

      "blot" and "sumbel" rites, 3) gather to observe at least 31 Holy Days a year, 4) have each

      prison approve specific Holy Days for local kindreds, 5) have access to approved ritual

      and ceremonial items and offerings, 6) have pork, and 7) have outdoor services. In 2008,
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      the IMP was reviewed and approved by Defendant Marcus Hicks, who was Chair of the

      Religious Issues Committee at the time (he has since become Commissioner).

   24. The first five elements are required under the.IMP for Asatru, but they are either directly or

      conftructively denied in all instances throughout the NJDOC, as described in this

      complaint.

   25. Although the last two elements are listed in the IMP as only being permitted and preferred

      rather than being required, there is no governmental interest in denying the last two

      approved and preferred elements, and similar religious groups receive comparable

      accommodations that are not listed as being approved or preferred by their IMP

      documents.

   26. Plaintiffs incarcerated within most NJDOC facilities are not given any gatherings at all.

      The few prisons that do permit gatherings will not allow plaintiffs to observe approved

      holy days or have access to approved items that are needed in order for plaintiffs to perform

      the rites that are approved for Asatru.   Some chaplains have chosen to allmv only study

      gatherings ,;vithout allowing any form ohvorship service; others ,.von't 2.1!0\v the approved

      study groups, and instead allmN a worship service in name only, as they do not allow

      Plaintiffs to use any essential items or food and drink offerings, or make anv song offerings

      or noise of any kind, or do anything that is needed for a rite tc be performed.

   27. Plaintiffs are not given access to the following items that are approved by the IMP for

      Asatru: 1) a Stalli (an altar); 2) an altar cloth that can also serve as a Kindred Banner; 3) a

      sacrificial bowl (a Bowli, which must be made of natural material, and is used to hold the

      drink offering); 4) an Aspergillum (evergreen twig); 5) a Gandr (a wooden wand from a

      fruit~bearing tree); 6) a Hlath (rune-inscribed headband); 7) an oath Ring; 8) a Mead Hom;

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      9) Pictures of Gods and Goddess to be displayed on the altar; and 10) a Thor's Hammer

      medallion.




                                            Count Two

      PLAINTIFFS INCARCERATED WITHil..J NJDOC FACILITIES HAVE BEEN
      SUBJECTED TO SIGNIFICANT BURDENS AS A RESULT OF HAVING
      BEEN DENIED PERMISSION TO PERFORM RITES THAT ARE NOT
      COVERED BY THE EXISTING IMP FOR ASATRU, BUT ARE
      NEVERTHELESS     PROTECTED RELIGIOUS- ACTIVITIES      UNDER
      PLAINTIFFS' SINCERELY HELD BELIEFS.


   28. Plaintiffs within NJDOC have asked for the IMP to be expanded and for other decisions to

      be made that will allo)V Plaintiffs to practice Asatru as it is supposed to be practiced

      according to Plaintiffs' sincerely held beliefs. These decisions have been either ignored

      or denied by Dcfendnn:·s Akins, Wilcox, and Brantley, and Defendants Lee, Ricci, D'llio,

      Hicks, and Mi1q1hy have been deliberately indifferent to said denials. Pl_ainJiffs have

      made requests lhat include but are no1 limiled to access lo the follmving: Ri1e-speci.tic

      foods, drink~, and oth'::'r offerings and materials for maki!1g certain offerings; access to

      organic foods, natural wateL and natural hygiene/sanitation products: purifica1ion items:

      ritual space a.rid items that are acceptable; outdoor gathering space; the ability to use and

      retain musical instruments and art supplies for making song and craft offerings; the ability

      to purchase and complete DNA tests to asce1iain how to realize and strengthen individual

      spiritual heredity; access to natural medical treatment and the ability to perform

      plant-medicine rites; religious accommodations for plaintiffs housed in administrative

      segregation and other restrictive housing units.


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   29. The following paragraphs in this Count describe essential sincerely held beliefs that

      Plaintiffs within the NJDOC are not allowed to practice.

   30. There are several forms of Asatru, and each sect has at least one major belief or practice

      th.at sets it apart from the other sects. In the DOC, Plaintiffs have been deprived of the

      ability to practice their specific sects of Asatru, despite having formally requested

      permission from Defendants Akins, Brantley, and Wilcox, and despite having formally

      appealed to Defendants Lee, Ricci, D'llio, and Hicks.

   31. Because of a iack of ,villingness to consider some key differences be1:ween a few of the

      Asatru sects, Defendants within the NJDOC force Plaintiffs to either not practice their

      specific sect, or to conform to an opposing sect. Two major rifts between some sects

      exist. The first is that some sects oppose being called Odinists because they believe all of

      their deities are equal and Odin should not be listed above all others, and because some

      Odinists don't accept followers who do not follow exclusively Norse versions of the

      religion and do not have what they consider exclusively Scandinavian genes, whereas

      most other Asatru groups ernbrace a much broader spectrum of backgrounds and b:":liefa,

      including everything from Neolithic European practices to Hindu and Shinto practices.

      Many Asatru members are offended by being calied Odinists, and many adherents to

      Odinism are offended by benig called Asatruar (the plural word for members of Asatr..1).

      The second major rift is between sects who believe that follov,,ers must live a completely

      organic lifestyle and avoid all things that are unnatural, and sects who believe organic

      living is mostly optional, but that offerings to the Nature deities must be organic. Forcing

      Plaintiffs to practice one or the other of these sects or be called by one or the other of the

      names of these sects is particularly offensive and burdensome.

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   32. The IMP for Plaintiffs lists Odinism and Asatm, but the DOC forms Plaintiffs must fill out

      use only the words "Odinism" and "Odinists," and the callouts are usually announced as

      Odinists, without any mention of Asiltru. This is offensive and burdensome to

      anti-Odinists followers, who feel they are not accepted by most Odinist groups,. and who

      feei that the term is offensive to their other deities. So1ii.e Plaintiffs feel so passionately

      about th:is that they will not sign paperwork that is necessary to go to the callouts, and

      others have stopped going when the Odinists are called out. Some sects of Asatru

      consider it a taboo to mingle with Odinists. To resolve this conflict, Plaintiffs have asked

      that the paperwork and callouts mention Asatru instead of cnly Odinism, but these requests

      and appeals have been ignored. There is also a problem with many paper forms and

      callouts grouping Plaintiffs together with Wiccans, which is significantly offensive .. In

      some instances, Plaintiffs are forced to share their gathering space ,md time \1'1ith Wiccans,

      despite that there are major conflicts between the two groups. ai1d despite that each group

      has its own IMP.    At best, this cuts Plaintiffs' gathering times in half and makes them

      endure Wiccan activities and speech for the other half. At ,vorst, it is a taboo for some

      Plaintiffs to mingle with Wiccm1s, whom they consider to conji..ire !1egative energy and

      offend the deities and ancestors.

   33. The Organic form of Asatru is made up of Plaintiffs ,vho call themselves Organic

      Believers. Most plaintiffs are Organic Believers ( over a hundred of the ones na.'Tied in the

      DOC). Organic Believers are unable to practice their version of Asatru in any ways

      within the DOC. The following paragraphs describe some of the beliefs and practices that

      are ignored by the DOC defendants.



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   34. Organic Believers are animists who sincerely believe all things that exist have a spirit, and

      they cannot eat or drink any foods or beverages that have not been treated with organic

      hospitality; meaning they have never been subjected to any negative emotions and thoughts

      or toxic chemicals, including but not limited to fertilizers, pesticides, synthetic nutrients, or

      other chemicals. or any foods or beverages that. have been given any food or water that has

      been subjected to said toxins. The foods for Organic Believers must be properly

      prepared and sacrificed (i.e., slaughtered or harvested according to Organic Believer laws),

      and ritually charged and otherwise prepared by Organic Believers less than three hours

      prior to being consumed.

   35. Organic Believers sincerely believe they must use only natural products for personal

      hygiene and sanitation, and they believe failing to perform personal hygiene and sanitation

      purification rites regularly, c,r coming into contact with any objects that have not been

      subjected to ritual purification, or sharing living space and sanctuary areas with ai1yone

      who does not practice organic personal purification rituals are all prohibited by their

      religion and render them both impure and guihy of polluting the Earth Mother and feilmv

      members of their Nature Congregation.

   36. Organic Believers sincerely believe they mus1: embrace global shamanism that requires

      them to participme in specific rituals, most of which must be conducted outdoors at precise

      times to collectively keep the cosmic order from being undone.

   37. Organic Believers sincerely believe they must create, tend to, meditate with, harvest from,

      and absorb all safe forms of plant life.




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   38. Organic Believers sincerely believe they must perform some type of yoga, often in the

       form of Rune Yoga, every single day on meditation mats and with meditationcushions

       and/or pillows.

   39. Organic Believers sincerely believe they niust create, offer, and absorb "sacred substances"

       that.are collectively referred to as Soma mid/or Mead, which includes but is not limited to

       fermented plant products, distilled spirits, caimabis, mushrooms, tea, tobacco, and other

       such natural products that allow for necessary trance-like states of meditation to be entered

       into by the absorption of the essence of these sacred and deified products.

   40. Organic Believers sincerely believe they must use plant medicine and avoid all forms of

      modem medicine except emergency surgeries in the case of accidents and other injuries,

       and Organic Believers sincereiy believe they can never consume any unnatural pain reiief,

       but instead rnust absorb sacred cannabis/marijuana to treat pain ritually.

   41. Organic Believers sincerely believe they must perform all of the sacred rites their ancestors

       performed, including but not limited to tantric exercises, giving offerings to the land spirits

       upon exiting a building and to house and room spiri:s npon entering a house      0r   room, and

       having plants and the elements around them at all times, including during sleep.

   42. Organic Believers sincerely believe they must create and have fire, soil, movin.g air, and

      moving water present during all of their congregate and personal rites, and they rn.ust also

      perform these rites outdoors most of the time, but sometimes at night near open windows

       where the deities and Nature Spirits can enter and be seen.

   43. Organic Believers sincerely believe that each Organic Believer must perfonn rites that are

       linked to his or her individual heritage because they sincerely believe that each family has a



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      multi-generational spiritual existence, requiring them to conduct DNA tests to learn how

      each Organic Believer must personalize his or her rituals forprivate rites.

   44. Organic Believers sincerely believe plastic, concrete, polyester, and other unnatural

      materials have a negative metaphysical impact on sanctuary areas and therefore cmmot be

      used for any purificati011 practices, rituals or ceremonies, meditation, exercise, eating or

      drinking, or sleep.

   45. Organic Believers sincerely believe they must cut and dry many herbs and other plant life,

      and collect and store oils that are required for rites that include but are not limited to

      rune-cast offerings, and these ritual and ceremonial plant products ca1mot be handled by

      anyone who belongs to any religion that has attempted to or is still attempting to destroy

      paganism or exterminate pagans.

   46. Organic Believers sini:erely believe they must have stone and wooden circles for

      performing rites indoors and outdoors and that the areas and Plaintift:S bodies must be

      heated and cooled during most circular rites.

   4 7. Organic Believers sincereiy believe they must never perform any rites in an area that has

      been defiled by rituals from religions that have tried or a.re trying t0 destroy paganism or

      exterminate pagans.

   48. Organic Believers sincerely believe they must use foods and drinks that heat and cool their

      bodies during many of their shamanic rituals and ceremonies.

   49. Organic B~lievers sincerely believe they must take hot and cord baths that require them to

      submerge their entire bodies in liquids that contain various herbs m1d oils, which change

      according to seasons and the purpose of each ritual purification, and Organic Believers



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      sincerely believe they must perform Sauna and other heating rites for shamanic rites that

      heat and cool the body through external conditions.

   50. Organic Believers sincerely believe each member of a local community must contribute to

      a group fund that stores valuables and uses them for the betterment of the overall

      corrimunity.

   5 l. Organic Believers sincerely believe they must protect the Eaith Goddess by recycling and

      by cleaning up litter whenever possible , and must never contribute to the destruction of

      Mother Eai1h or their fellow members of the Nature Congregation.

   52. Organic Believers sincerely believe they must create, use and mark1tattoo nmes, ogahm,

      numbers, and other symbols         a,.11d   images on their bodies, cards, stones, srnves, shells, dice,

      ai1d other ritual artwork, and these sacred items must be created by Organic Believers and

      never defiled by being handled by e1.nyone who belongs to a religion i:hat has tried or is

      trying to destroy paganism or exterminate pagans; Organic Believers must also av0id

      touching or being around symbols from supremacist mainstream religions that represent

      the destr..1c-::ion of paganism.

   53. Organic Believers sincerely believe they must avoid rust, vvhich is presentin many cells, in

      the security toothbrushes, and on exercise equipment in prisons.

   54. Organic Beiievers sincerely believe performing their rites requires specific seasonal plant

      and animal foods and drinks and deity-corresponding foods and drinks, and specific items

      that Plaintiffs in the DOC are not currently pen11itted to possess or use, including but not

      limited to corresponding plants foods that begin as parts of living plants and are then

      ceremoniously chosen (via rune castings), harvested, and turned into bannocks,

      bread-beasts, and animal crackers that must be sacrificed in lieu of animals for daily,

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      weekly, monthly, and seasonally appropriate gatherings. Each sacrifice, both as

      individuals in their personal rites, and as group members during gatherings, must contain

      specific foods, drinks, colors, images, scents, sounds, activities, and textures that

      correspond to the meanings of each rite and the season ot seasons in which each rite takes

      place, and which have been used in these rituals for more than one generation by Plaintiffs'

      ancestors. For group rites, all people who attend the rite are required to bring at least three

      types of token offerings to be used in the rite; the offerings must consist of a form of food

      or drink, art, and a seasonally appropriate craft. For each of the daily, weekly, monthly,

      and seasonal turning points in the sun wheel and the moon phases, the Laws of

      Correspondences must be applied. Each holy tide's specific traditions, decorations, songs,

      and food and drink offerings are key factors in these daily rituals and seasonai

      slm-wheel-tu1T1iEg and momhly moon-maintenance ceremonies. At kast one of the daily

      rites must take place outdoors, and offerings must be ceremoniously brought out for the

      Nature deities (also referred to as Nature Spirits, Land Spirits, and Land Vlights) every day.

      and brought back i.n for the house spirits and room spirits upon returning indoors every day.

   55. Plaintiffs sincerely believe they must never enter a room, building, or area without making

      offerings to the spirits in the nevvly entered space. These offerings are not ahvays food

      and drinks, but whenever an Organic Believer eats or drinks, he or she must set aside

      offerings for the deities, ancestors, and spirits, and m11st keep offerings on hand at all times

      in case signs of Nature indicate that an offering must be made to a storm, the wind deity,

      animals, etc

   56. Plaintiffs sincerely believe they must create and maintain physical and metaphysical

      purification with specific organic purification rites for their sanctuary areas and items

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      through the use of practices that include but are not limited to ritual baths, heating and

      cooling the entire body through the use of sauna-like and ice-water-plunging rites, and the

      use of items that include but are not limited to vinegar, iodine, distilled water, sea salt, fire,

      incense, oils, safe and Organic-Pagan-accepted oral hygiene products such as dental floss,

      baking soda and hydrogen peroxide to brush with, and iodine in which to store

      toothbrushes. None of these items are permitted, and no access to them is granted within

      the DOC. Only dangerous toothbrushes are sold or provided, and they are meant for

      single use bm only limited amounts are sold or provided. There are alternative versions of

      toothbrushes that do not cause damage, but they are not sold or provided.

   57. Plaintiffs sincerely believe they must perform herbal-medicine and plant-magic rituals and

      avoid all forms of unnatural medical practices. None of this is permitted for Plaintiffs in

      the DOC, and the opposite is often forced through mandatory TB tests. X-rays, biood tests,

      prescription:::. etc.

   58. Plaintiffs sincerely believe they must maintain natural indoor and outdoor gardens and

      have sanctuaries that consist of a World Tree, a Sacred Well, a Sacred Fire, a Sacred

      Library and Study area, spaces for private quiet meditations, and an exercise area. Despite

      that there are garden areas in almost all of the prisons and a greenhouse in EJSP, and indoor

      plants in all prisons, Plaintiffs in the prison system are no1 allowed to have plants or access

      to plants, even though they can be around the plants from other religions that don't require

      plants.

   59. Plaintiffs in the DOC do not have access to any organic foods and natural hygiene

      products, or other religious items that have not been poisoned with chemicals, mistreated,

      improperly created or prepared, and otherwise tainted, but Plaintiffs sincerely believe they

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      must protect the goddess Jmih (the earth) and her inhabitants by consuming and/or using

      only organic foods and water, and by using only natural soaps, detergents, clothing, ritual

      items, bedding, and other products.

   60. Plai1itiffs sincerely believe sonie of their ritual and ceremonial meals must be made up of

      exclusively liquid plant foods that cannot be prepared with any containers or utensils that

      have ever been in contact with any animal products. Ritual food preparation and other

      such considerations are permitted for Jewish, Christian, and Muslim prisoners, but not for

      Plaintiffs ,vithin the DOC, ,-vho have no way of creating requisite iiquid sacrifices.

   61. Pb.intiffs sincerely believe they must keep living plants and other members of their N 2.ture

      Congregation around them at all times and they believe they must meditate with living

      plants and other members of their Nature Congregation several times a day, including but

      not limited lO plant presence during sleeping rituals and the practice of morning exercises

      (such as rune yoga). which require a meditation mat, dream pillow, and meditation cushion

      (ail of which must be made of naturai materials) directly next to plants and direct sunlight

      none of which is permined for Plaintiffs within the DOC, despite that Clu·i~tians have

      plants all over the chapels in the DOC, and there are gardens and greenhouses in the DOC

      prisons where Chiistian prisoners work with plants on a daily basis, a:1.d despite that

      non-orga..n.ic Native-American prisoners go outdoors with plant iife for weekly services and

      Muslim inmates can have prayer mats in their cells and have entire areas covered with very

      large prayer rugs for Islamic congregate services.

   62. Most plaintiffs sincerely believe they must perform daily mirror-scrying rituals. Plaintiffs

      in many sections of the DOC are not permitted to have safe flexible mirrors, despite that

      they pose no risk in Administrative Segregation ("ad seg'').

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   63. Plaintiffs concede that there are compelling governmental interests that are furthered by

       not allowing prisoners to freely practice their religion as if they were in the outside world,

       but Plaintiffs claim that a total ban against almost every aspect of their religion is not the

       least-restrictive means of fmihering said compelling governmental interests, especially

       when considering the things that are allowed for other groups.

   64. Plaintiffs within the DOC are deprived ofbasic fi:ee-speech rights that are being taken

       away without authority and without notice. These rights include but are not limited to the

       ability to crea~e, publish, and profit from books and other such forms ofreligious

       expression and religious obligations.

   65. Plaintiffs sincerely believe they mus1 create literature as offerings, a.11d crea1e

       message-spreading literature about their beliefs, publish said literature, and 1...1se any profits

      to further their r~ligious goals of protecting the Earth Goddess and preparing for natural

       disasters.

   66. Severai Plaintiffs have been specifically told that they are not allowed to create, publish, or

      profa from iiteratlire, draw-ings, and sculptures, so they are restricted in their abililies to not

       only enjoy free speech protected by the First Amendment to the U.S. Constitution, but they

       are also prevented from exercising said righ1s to perform their religious obligations to

       spread messages of their religion.

   67. Several Plaintiffs have also had their religious writings and other such creations

       confiscated and never returned.

   68. Plaintiffs within the DOC are not allowed to have privacy while performing basic human

       functions. Plaintiffs sincerely believe they must never urinate or defecate in front of

       anyone else, and they must perform rites that involve balancing the body, mind, and spirit

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      by achieving sexual release (for prisoners, this would be achieved through self-release).

      At present, prisoners within the DOC are deprived of their rights to live within the

      parameters of these beliefs.

   69. Plaintiffs are not allowed to put up blocks for privacy, they are not given any private time

      for using the toilet, they must use the toilet in front of other prisoners, and they m\..1st also

      urinate in front of staff for tests that can be taken without this profane measure.

   70. Plaintiffs are also forced to conform to the beliefs of mainstream religions when it comes to

      anything related to sexuality, despite that Plaintiffs' beliefs embrace sexuality and

      incorporate it into their rites. Ancient and modern images and v,rritings with graphic

      sexual depictions and descriptions are central to Plaintiffs' beliefs. Nevertheless,

      Defendants are not allowed to have any form of these depictions or descriptions, and

      Plaintiffs are not allo,ved to masturbate. Aside from these restrictions forcing Plaintiffs to

      conform to the standads and beliefs of an oppositional set of beliefs, it also prevents

      Plaintiffs from performing their own beliefs.

   71. Defendants JPAY, Ricci, D'liio, and Hicks have issued bans of books, photographs, and

      any depictions or descriptions of graphic sexuality or photographs and other images of

      human genitals. Plaintiffs have fertility rites, images, and descriptions in their religion.

      and these objects are used to help Plaintiffs enter into excited states in order to perform

      functions that have been performed for thousands of years in Plaintiffs' religion. These

      completely legal and natural functions, such as becoming mentally and physically aroused

      and releasing pent-up sexual urges and imbalances, do not pose any harm to anyone if they

      are performed in privacy, but failing to perform these rites does harm Plaintiffs by

      preventing them from practicing important aspects of their religion, and by leading to

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      physical damage from neglecting their reproductive organs for long periods; Many

      Plaintiffs who have been incarcerated for long periods are now unable to even become

      excited without the very items that are banned by Defendants Ricci, D'llio, and Hicks.

      These defendants have banned and caused their underlings to seize all books on Kama

      Sutra and related material, the
                                  .   book "Neolithic
                                              .       Shaman:ism."
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      depicting Frey, Freya, Thor, Sif, and ldunn, the "Prose Edda" and the "Poetic Edda" (which .

      are approved by the IMP for Asatru), and any photographs of naked humans that are

      subjected to arbitrary beliefs about oppositional definitions of modesty and decency.

      Defend2nt JPA Y also rejects photographs on this basis.

   72. Tcbacco is an essential part of Plaintiffs' sincerely held beliefs, mentioned as a form of

      offering in publications dating back to Jacob Grimm in the 1800s, and still being used and

      mentioned in rmblications by Asatru leaders in The Troth and influernial Asatrn sharnans

      such as Galin2. Krasskova. Plaintiffs within the DOC have been subjected to removal of

      tobacco (for everyone except Native Americans) from the DOC without being give,1 any

      treatment to deal with the withdrawals they experience, and notl::.ing has been done by the

      DOC's agency defendants or Defendant Rutgers to address this matter, ,vhich is still going

      on every time Plaintiffs see cigarettes on the television and smell smoke from staff and

      Native .A.merican Prisoners.

   73. Plaintiffs sincerely believe that most of their deities can be accessed only by going

      outdoors, and that they must perfonn outdoor rites every day, but incarcerated Plaintiffs are

      often restricted from going outdoors for long periods, and they are never given a sacred

      natural outdoor space to perform their rites. They are kept from having what they

      sincerely believe is essential physical and spiritual contact with such obvious deities as the

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      wind god, the sun goddess, the sky god, the earth goddess, and the Nature spirits.

      Plaintiffs sincerely believe they must have regular contact with these and many other

      deities that they can contact only outdoors, hut Plaintiffs are often kept from these deities

      for very long periods, whei"eas other groups are never kept from their deities:

   74. The days of the week are named after specific deities that Plaintiffs believe they must

      honor and make offerings to more so than on other days, but they are kept from these

      deities and unable to honor them in outdoor settings. They are also unable to honor them

      in any alternative 'Nays thar have been proposed by some Plaintiffs, who asked to at least be

      able to gather near windows in lieu of havir.g outdoor contact during frnes ,vhen this 1s

      not prude!l.t in a prison setting. For example, Monday is named after foe Mcon god

      (Moon's Day), and the moon is not always out during daylight hours, but maximum

      security prisoners are not aik1wed to be outdoors ,vhile it is dark out, so "Plaintiffs housed in

      NJSP have :i::;ked that they be able to perform Moon Day rites in front of windows where

      the moon can be seen.

   75. The English language is predominantly Germanic, and most ohhe words th2.t are not of

      Germanic origin still derive from Inda-European roots. These languages are all part of

      Plaintiffs' ancient Eurasian belief system. The days of the W•~ek in English have the

      following meanings to the ancient members of Plaintiffs' religion, and to Plaintiffs today:


          -   Sunday means Sun's Day, when Plaintiffs sincerely believe they must gather
              outdoors to perform group rites that focus mostly on the goddess Sunna. their solar
              deity.

          -   Monday means Moon's Day, when Plaintiffs sincerely believe they must gather
              outdoors to perform group rites that focus mostly on the god Manni, their moon
              deity.


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          -   Tuesday means Tyr's Day, when Plaintiffs sincerely believe they must gather
              outdoors to perform group rites that focus mostly on the god Tyr, their sky deity.

          -   Wednesday means Woden's Day, when Plaintiffs sincerely believe they must
              gather outdoors to perform group rites that focus inostly on the god Woden (or
              Odin, or Godin, the latter being the actual root of the word "God''}, their wind deity.

          -   Thursday means Thor's Day, when Plaint1ffs sincerely believe they must gather
              outdoors to perform group rites that focl,ls mostly ori the god Thor, their thunder
              deity.

          -   Friday means Frigga's Day, when Plaintiffs sincerely believe they must gather
              outdoors to perform group rites that focus mostly on Odin's wife Frigga, but also on
              Frey and Freya, the main fertility deities.

          -   Saturday means Saturn's Day, when Plaintiffs sincerely believe they n:m:st gather
              outdoors to perforn.1 group rites that focus mostly on the gods Njord and Loki, both
              of whom are the Nc-rse representatives of the Roman god Saturn due to similar
              attributes and meanings with Saturn. This is the only day of the ·week that retained
              its Roman name afler the Germanic tribes had intermingled in large scale with i.he
              Rom2.ns during the Migration age, the period in which the Roman Empire was
              taken over b? Gennanic tribes through military and political tactics, with the
              citizens of Rome becoming one with the Germanic Ostrogoths (meaning "Eastern
              Goth:;") and the Lombards (a name that means "Long Beards," recorded in
              Plaintiffs' ancient myths as having been given to this tribe by the Wind god: Odin).


   76. Plaintiffs also sincerely believe they must perform sun-greeting rites every day in   <tn


      outdoor sanciuary setting, and they believe they must make offerings to many types of

      Land Spirits and other outdoor deities and beings.

   77. Aside from Plaintiffs in most general population settings not being given an ouidoor area in

      a natural space and access to said space to perform these rites outdoors with their deities,

      Plaintiffs in some areas are not even allowed outdoors for recreation for long periods.      In

      administrative segregation, Plaintiffs go as long as six days between yard movements, and

      Plaintiffs in general population in NJSP are not allowed out every day.     During these

      periods, they are kept from their deities.


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   78. Plaintiffs are also kept from going outdoors for extremely long periods as a result of being

       sanctioned to loss of recreation. Plaintiffs claim that the DOC sanction of "LORP" is

       applied to normal recre~tion rights rather than the incentive recreation privileges the

       sanction was intended for.    In some instances, Plaintiffs have been sanctioned to many

      rilomhs, and even years of LORP, and the sanctions are often applied to only yard days for

      Plaintiffs in administrative segregation and NJSP's general population, leading to years'

      worth of not being able to go outdoors and engage with their outdoor deities.

   79. Plaintiffs claim that these restrictions are violations of their religious rights, but are also

       deprivatio1:s of their rights to equality in settings where Native Americans and others are

      given outdoor space and living plants for their rites, and also deprivations of protection

       against cruel and tmusu2.l punishment because extended loss of recreation has a long-term

       irnpw:i. iria1 lectds ,o p1iy~i.cal and Li,en mental health problems, \Mhicri hRs been caused to



   80. Defendants Ricc:i, D'iJio, and Hicks have heen deliberately indifferent tn these cJain,s

      regarding the need for outdoor ac,:es:=:, equal outdoor space and time, and equal daily

       gathering time; they have also all participated in the creation and continuance of Plaintiffs'

      restricted outdoor access 2.nd nePrls to have vital recreation. sunlight, and frr:::sh air for

      Plaintiffs in NJSP a..Tid in administrntive segregation.

   81. For equality purposes, it must be noted that inmates of monotheistic faiths are allowed to

       gather much more often than prisoner plaintiffs, sometimes every single day, and Native

      Americans are given many outdoor areas throughout the state, with statewide temporary

      transfers being made to allow them to go to a special sweat-lodge area of one prison in




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      south Jersey. No such accommodations have been made for Plaintiffs, despite that

      Plaintiffs have made requests for equal treatment to Defendants Ricci, D'llio, and Hicks.

   82. Plaintiffs claim modern information about physical and mental health makes loss of

      recreation for long periods cruel and uimsual punishment, regardless of how much process

      is afforded, but that insufficient due-process protections are given prior to long-term loss of

      recreation.




                                          Coum Three


      PLAINTIFFS Il'.JCARCERA TED WITHJJ'.J NJDOC HA VE BEEN DEPRIVED
      OF EQUAL PROTECTION OF THE LAW AS A RESULT OF THE DENIALS
      LISTED IN COlTNT ONE AND COUNT TNO, AND IN ADDITIONAL \NAYS
      IN WHICH D:C:FENDANTS ALLOW OTHER GROUPS TO PER.FORi\'1
      COMPARAbj,E ACTlViTTES, POSSESS COMPARABLE ITEMS . AND
      ENJOY COMPAP~c\BLE ACCOM:f\1ODATIONS.


   83. Defendants Akins, -,A/ikc)x, and Brantley have deprived Plaintiffs of equal rights regarding




      deliberately i1difforent to said disparate treatment: 1) Equal Gathering Time &.nd gathering

      space; 2) Equal Access to Congregational Ritual and Ceremonial Iten1s. 3) Equal portions

      of funding available to other groups; 4) Equal Access to Musical Equipment and Practice

      Times; 5) Equal Permission to Retain Personal Items Necessary For Rites; 6) Equal

      Treatment regarding Restrictions on Number of Participants and Visitors for gatherings; 7) .

      Equal Purification/Sanitization Products and Abilities; 8) Equal religiously acceptable pain

      relief (including medical marijuana and other plant medicines), therapy, and additional

      medical and mental-health treatment; 9) Equal Storage Space for religious items; 10) Equal

      Literature Displays; 11) Equal Hard-Copy and Digital/Video Notifications; 12) Equal
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      Access to Copying Services 13) Equal accommodations with living plants for religious

      use; 14) Equal Jobs for chaplain clerks; 15) Equal ability to Prepare and handle holy day

      foods/ drink; 16) Equal Specialized Religious Foods and Drinks; 17) Equal intervention by

      the chaplain defendants for housing; 18) Equal access to outdoor worship/ritual/ceremonial

      space; 19) Equal access to religious counseling; 20) Equal attempts to obtain out-of-prison

      assistance; 21) Equal treatment with banquets; 22) Equal ability to shower prior to

      gatherings; 23) Equal access to religiously acceptable addiction programs; 24) Equal

      ability to form a non-profit organization; 25) Equal Ability to Write and Publish Religious

      Books; 26) Equal Access to audio and video content and equipment, and equal time and

      space for members to listen to audio and video content; 27) Equal ability to have outdoor

      sanctuary spaces in each prison where no other religious activity can take place, like Native




      the state can ::ic tei:npo~·arily moved ai;d have state\vidc gatherings for major rites, as is done

      with. the Sweat Lodg:e
                      - .    ceremonies
                           :_,,'   .    for Native Americans: 29),. Emw1 abilitv
                                          -                                ~   . to state a


      non-profit organization, as is afforded to several other prisoner groups, despite that those

      other groups have similar local non-profit groups who serve the same functions as the ones

      thar are permirted, whereas there is no non-profit plaintiffs can rely upon due to their status

      as a minority religion and a minority in prison.

   84. Defendants Lee, Ricci, D'llio, Hicks, Akins, Wilcox, Brantley, Ne,v Jersey, and Murphy

      have contributed to the following examples of disparate treatment that prevents Plaintiffs

      in the DOC from being able to practice their versions of sincerely held beliefs in manners

      equal to the ways in which other groups are allowed to practice their religions.



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   85. Plaintiffs sincerely believe they cannot share living space or sacrifice space with anyone_

      who fails to perform the Organic form of physical and metaphysical purification, or anyone

      who practices any form of monotheistic supremacism and/or other intolerant religions or

      wears and/or displays any hate symbols, including butnot limited to cettain sects of

      Christianity and Islam, and images of the crucifix, respectfully, and any other religions,

      symbols, words, or other displays that represent polytheists' genocide or otherwise have

      been used to suppress and/or destroy polytheism and/or torture and kill its adherents.

   86. Plaintiffs in the DOC are forced to live with others in cells where Plaintiffs caimot perform

      any form of religious rites due to inmates in the cells havi:1g different hygiene p!·actices

      and/or a lack thereof, performing contrary religious practices, displaying monotheistic

      hate symbols and listening to and singing anti-polytheistic religious music that is offensive



      physically pur~ area or being able to concentrate during any attempted meditation or ritual

      studying. ]\,fomhers of other religions vvho have iJeen subjected to hate symbols, speech,

      and music are not forced to endure such religiously hostile and offensive environments.

      Defendants New Jersey and Hicks do not allow for Plaintiffs to be moved to single cells or

      choose fellow Organ Believers to 1ock with. and they are subjected to long periods where

      they are forced to live in such religiously hostile environments, sometimes withou! being

      able to leave the cells for weeks at a time during lock downs and for longer periods.

   87. Defendants Brantley, Wilcox, Akins, and Lee directly caused/cause and/or were/are

      deliberately indifferent to Plaintiffs having to endure hate symbols and sounds, and

      metaphysically tainted areas for the only spaces in which they are allowed to congregate



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       for religious purposes at EJSP, NJSP, and elsewhere within the DOC in New Jersey.

       Defendants Hicks, D'llio, and Ricci have been deliberately indifferent to these problems.

   88. Plaintiffs sincerely believe they cannot listen to indoctri11atii:lg speeches, songs, and

      prayers from any groups that have exhibited and/or currently exhibit hatred toward

      polytheism. However, the only space Plaintiffs are given in most prisons is where other

       groups are scheduled for the same time periods, so Plaintiffs have to listen to prayers,

       speeches, and music with inculcating anti-polytheistic messages that interfere with

      Plaintiffs' ability to study. Plaintiffs consider words and music to be alive, and they

      believe they must avoid allo'.ving then1selves to be invaded by the sounds of 2.nti-paga:1

      hate speech and melodies from supremacist Christians and Muslims who are present in the

      chapels. Ivluslims ar:d Native Americans are given their ovm sanctuary space, and

      Plaintiffs ctSe ri:-quired   to   forfeit their neeci ro chant sing, ctnd play nrnsic ,-vhenever 1hey a.re

      gathered arou;:d any other religious group gatherings for studying o; perfrJrming rites.

   89. Plaintiffs sincerely be ii eve they nrnst fast during specific periods~ some of which must he

      determined by rune castings. These fasts are not honored in the DOC, and scheduling aI1d

      urine tests often interfere with the fasts and force Plaintiffs to break the fasts to avoid being

       given institutional charges. Additionally, this does not happen \Vith Muslims during 1heir

      fasts.

   90. Plaintiffs sincerely believe their ritual areas must never belocated near toilets or in areas

      where human waste can be splashed. Toilets in the prison cells do not have lids and are

      inches away from the bunks, and bodily waste is sprayed all over the cells and Plaintiffs'

      bodies in the DOC when the toilets are flushed.              This is especially offensive in two-man



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      cells, but Plaintiffs' ritual hygiene is not considered in the DOC, though comparative

      considerations are given to other groups.

   91. Plaintiffs believe they must perform certain rituals that prevent their intense meditation

      rituals from being interrupted from the existence of scents and impurities that are trapped

      in hair and under :fingernails and toenails. As such, those Plaintiffs sincerely believe they

      must keep their head hair either bald or very short and they must trim and shave their

      facial hair every day, cut their fingernails and toenails every day, and keep only eyebro,vs

      ·and a shortly groomed goat-tee at most on their heads/faces. Plaintiff in the DOC are not

      able to perform these rites, and often can't groom themselves for weeks, months, and even

      years in ad seg, but comparative considerations are made for other groups.

   92. Some Plaintiffs sincerely believe they must become organic vegans during certain periods

      (especially dming the monlh of November or whenever a deity or "g:re-enwigrn" compels

      them to), and some sincerely believe they must maintain an organic vegan lifestyle at all

      times except during holy day feasts when ritual anirnai foods are necessary, but this is not

      possible to any extent for P!aintiffs ,vithin the DOC. No organic foods or beverages are

      provided or permitted, and there is no way to maintain proper nutrition as a vegan even on

      the vegetarian diet. which is set up for Muslims and is the only alternative that was ever

      given to any of the Plaintiffs. in the DOC. Aside from not being organic, not being

      prepared according Plaintiffs' Organic-Vegan laws for separating containers and utensils

      for plant and animal foods, and not containing foods that are served within three hours of

      preparation according to Godian and Organic Odian beliefs, the Muslim diet provided to

      vegan Plaintiffs in the DOC contains eggs, cheese, milk, and various other dairy products

      that have no actual vegan protein replacement. In contrast, the entire commissary and

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      regular diet within the DOC conform to the Jewish and Islamic religious rulesregarding

      not having.pork, and conform to the Clu·istian diet of having fish on Fridays: There is not

      a single beverage or food item sold or provided that is organic and/or natural, within three

      hours of preparation, or otherwise fit for Organic-Vegan Plaintiffs to drink or eat.

      Plaintiffs have offered the alternative of temporarily paying for their own meals and ritual·

      offerings until there is a ruling from the Religious Issues Committee about organic foods, a

      .vegan diet; and natural ritual offerings, and Plaintiffs have even agreed to temporarily limit

      their food and drink purchases to only the vendors who are already app!·oved by the DOC

      for food package orders and other source-of-sale orders that have bee!1 previously

      approved, b1-1t this has also been verbally denied and/or ignored on paper by the

      Defendants. The D()C allows all prisoners who are charge free for a year to order food

      packages twi,;e a year. allows prisoners who are not charge free to on3er smaller food

      packages t\vic;:: a year. and allows prisoners entered into the STEP school programs to

      order and receive extra incentive food packages two more times per year. Muslims are

      allowed to hav~ special foods every night of their month--long fast and during 1heir

      additional holy day meals throughout the year, and Jewish imnates are prnvided 'With

      sealed Kosher trays three times a day. There is no security concern and no financial

      concern with 2.llowing Plaintiffs within the DOC to order and receive organic foods and

      drinks from approved vendors until there is a ruling as to what foods and drinks will be

      provided for Plaintiffs who sincerely believe they must maintain an organic vegan diet of

      raw plant foods and drinks that have been prepared within three hours of being consumed,

      and Plaintiffs who sincerely believe their aforementioned sacrifices must consist of living

      organic foods and drinks.

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    93.             Members of other religions within the DOC have been allowed to use the various

          repair shops, materials, and tools to design, create, and embellish various woodenitems to

          be used by other members of their religion. These items include but are not limited to

          large wooden crosses, banners, Stations of the Cross, altars, pews, and podiums, all of

          which have specific religious symbols and/or words that make the items clearly designated

          for specific monotheistic religions. Plaintiffs sincerely believe they must create sil'nilar .

          items, as listed in all of the major publications about the rites within their religion, and

          Plaintiffs al~c sincerely believe they cannot use such items that have been created by

          and/or for mcmotheists. Plaintiffs are not given equal ability to design, create, and

          main~ain rheir own items that meet the criteria for their religion.

    94. Although Appie Valley is an approved vendor for food packages, and it was previously one

          used by prisoners at NSP, this pc1nicular prison no longer ailmvs orders rn be placed from

          there, so ther;~ is no form of organic food available to Plaintiffs at NSP.   Soutlwvoods State

          Prison and many other DOC facilities don't aiiow any form of food package from Appie

          Valley.

    95. The defendants in the DOC deprive Plaintiffs of equal treatment in terms of hmv other

          religious groups are treated. Plaintiffs sincerely believe they mmt include specific foods,

          dnnks, items, and activities as hving members of their rites, just as Muslims are permitted

          to prepare their own religious foods, break their fasts with dates, and gather every night for

          an entire lunar month every year, and Catholics are permitted to have the specific

          communion food and drink that are acceptable in their religion at least one time every

          week, for all 52 weeks of the year. The entire menu and commissary has been altered to

          accommodate Jewish and Muslim people who can't eat pork or use products with pork,

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      Jewish prisoners are given sealed Kosher meals and drinks three times a day, and one of the

      DOC's approved food-package vendors was specifically chosen exclusively as a Hallal

      source for Muslims to purchase 100 pounds ofHallal food every year at EJSP, 120 pounds

      a year at NJSP, and 60 pounds a year at NSP. Plaintiffs, on the other hand, require 100%

      organic foods, natural drinks, the abiiity to congregate for their rites, and the ability to

      prepare their   0Vv11   ritual food and drink offerings, with foods and drin___l<.s that must

      correspond to the rites, but no accommodations are made for Plaintiffs with the DOC.

   96. Food that has been ritually purified by Piaintiffs ,vho attend approved gatherings or order

      approved focd from food package '1endors sincerely belie';e the foods hcrve become living

      parts of their rites and must be used for more than a single meal, but they me o£'ten forced to

      destroy the foods on the way back from approved gatherings or if they ;0 to administratrve

      segregation. No other groups are subjected to this type of destructio 11 of sacred foocis.      In

      no instances v,,ould Muslims be forced to destroy the dates they are given to break their

      fasts every night for an entire lunar month of every year. plus their additional gatherings,

      which equal roughly the same an1ount of gatherings that are approved by the DOC's IMP

      for Asatru, but the Asatru rites are spread out throughout the year, ,vith many less days to

      pmiake in the Asai:ru equivalent of communion than what is provided for the 52-plus

      weekly mass gatherings for Catholics to part8.ke in their form of communioi1. Aside from

      being asked repeatedly to allmv Plaintiffs at EJSP to participate in the IMP-Approved

      Asatru gatherings to perform Asatru's version of communion, Defendants Akins, Lee, and

      Hicks have been asked to intervene so the administrations and staff members in the DOC

      can understand and respect the necessity and the complexity of communion foods for



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       animists, but this is not respected; though the dates and other foods for Muslims, and the

      wafers/matzo and juice for Christians and Jewish inmates are never forced to be destroyed.

   97. There is no legitimate reason that Plaintiffs in the DOC cannot receive the same treatment

       as Native Americans by being given access to herbs that include tobacco, which are

      controlled by the Chaplains who oversee Native-American Services throughout the DOC.

       Several forms of tobacco and other herbs are necessary sacred..:substance items that

      Plaintiffs sincerely believe must be used in the form of incense, raw herbal offerings,

       smoked herbs ::hat must be inhaled and exhaled as offerings to Odin and the four directions,

      blended in 'Nith driIL.1<. offerings for New-\Vorld Soma sacrifices, combined with mint and

      other herbs and pressed with the teeth for morning Soma-chewing blends, given to foe

      dwarves and ancestors, and thrown raw into the winds.

   98. The DOC's IIvIF for Nari vi:- iunericans allO\vs prisoner to possess a meciicine b::tg "made of

      cloth or animul skin that is 'Norn by the Native ..<\merican religious adherents as a means of

      spiritual protection,'' but Plaintiffs have been denied the equal right to ha·v·e a personal skin

      poL1ch, which has been used for thousands of years by heathens to carry such es~e1tials as

      purification items, runes, spices, herbs, oils, incense, muslu·ooms. nuts, grains, seeds,

      pebbles, meditation mats, meditation cloths, and dream pillows for ritual purposes. as is

      described in the Icelandic Sagas and in the cited Eternal Rite booklets, the Tn:e-Asatru

      books, and related Organic Asatru literature that has been provided several times to

      defenda11ts Akins, Wilcox, Brantley, Ricci, D'llio, Lee, and Hicks.

   99. There is no legitimate reason that other groups in the DOC are allowed to have sacred items

      to use in rituals, while Plaintiffs are denied comparative items. The IMP for non-organic

      Buddhists allows the use of an altar, cloth, and incense. The IMP for Judaism allows

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      Jewish inmates to possess and use "approved spices," a ram's horn, matzo, grape juice in

      lieu of sacramental wine, and matzo, and the IMP for Judaism states that "candles or open

      flames are pe1111itted within the correctional facilities." Non-organic Native Americans

      are also allowed to use flames, and they are given access to outdoor services and    can have
      "a:mixture of items such as but not limited to, bark, dried leaves,. sage, cedar, sweet grass,

      cq!11 pollen," and tobacco, small pebbles, beads, and a ceremonial pipe. Additionally,

      their IMP states that some of the sacred plant materials must contain "as few additives as

      possible in oder to maintain purity of mixture that is used by Native Americans in

      religious services," \Vhich is no different from Plaintiffs requiring organic food and natural

      'Nater 2..nd hygiene products. Plaintiffs have specifically been denied spices, oils, herbs,

      pebbles, beads, incense, sacred plants, etc.

   100.       Jewisi1 inmates can come ,:,ut of their cells,every day for prayers that cannot be done

      in their cells, but Plaintiffs are not allowed to perform essential sun greetings, morning

      rune yoga, Nature Deity propitiation, or any other mandatory daiiy rites that can't be done

      in the cell::. Muslims are permii.:ted to congregate orn:doors every da)i for group prayers

      that consist of sometimes two dozen or more individuals in the yards at EJSP. but Plaintiffs

      are not allowed to perform Rune Yoga or circle chantings.      Muslims are also permitted 10

      shower before congregating so they can perform ritual purification rites, but Plaintiffs are

      not allowed to, and despite that there are showers located in the yards at EJSP. Plaintiffs are

      not allowed to bring soap to cleanse themselves before and after any religious activities

      that would be allowed to take place. Nor are Plaintiffs allowed to bring offerings to land

      spirits outdoors when they leave buildings, which is a requirement of their sincerely held



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      beliefs, despite that the Muslim equivalent of prayer offerings of songs, chants, words, and

      fragrances are permitted to be offered.

   101.         Plaintiffs in NJSP are given less than half the time Native Americans are given to

      gather.

   102.         The IMP paperwork for Native Americans states the following: "There shall be

      regularly scheduled congregate services, at regular intervals, equal in tefro.s and

      oppmiunity to that scheduled for congregate services afforded to all other traditional

      religions." There is no such equality mandate in any of the IMP paperwork for Plaintiffs

      who are not Native American, so all Plaintiffs are deprived of equal protection in this

      regard 2.s ·well because they are not given equal treatment in terms cf :he mainstream

      groups being given well beyond what is permitted in their respective lJ:VlP's, while plaintiffs

      get less than \X11nt is provided in their IMP's.

   103.         The l-lcly Days/Festivals section of the Native-American IMP s~ates that "every

      day is sacred," and they are allowed to have festivals "reiated to seasonai changes, the

      phases of tbe moon, the pwvision of food and other essentials for life." Plaintiffs are not

      given the opportunity and means for performing these rites, despite that Plaintiffs have

      essentially the same sincerely held beliefs. The IMP for Catholics lists 13 holy days in

      addition to their weekly ability to perform a communion rite, and Muslims get an entire

      lunar month of daily rites and three others per year in addition to their ability to perform

      daily outdoor congregate rites and weekly congregate prayer services throughout the year.

      (It must be noted that the collective holy days for Muslims amounts to 31 days every year,

      which is the same number that is approved in the IMP for Plaintiffs, but the latter group's



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       are spread out throughout the year, and the latter are notacknowledgedeven though they

       are approved).

    104.       Each Muslim within the DOC can have two prayerrngs, but Plaintiffs ca1,1't have

       comparable meditation mats and dream pillows, which are essential to their rites.

       Muslims can also have oils that are appropriate to their beliefs; but Plaintiffs are not

       allowed to have comparable products essential to their rites. Plaintiffs' rune-yoga rites,

       their "under the cloak" rites, and their full-prostration rites require them to have something

       siightly longer and thicker than the Muslim prayer rugs, but they are forced m conform to

       the abbreviated Muslim style of prostratio1:. and order only Muslim style mats that prevent

       Plaintiffs from being able to perform many essential rune positions, full prostration, or the

       same "under the cloak" rite that was performed by such famous Asatru founders m1d

       leaders as Odin and Thorgill the Law Speaker in kelanclic historicai records. Buddhists

       are allowed to have meditation pillows that are no different in comp:mson to the dream

       piilows required for Plaintiffs. Some prisoners with bad backs are given even larger

       pillows and cushions for sitting upright in the bunks, and some are given mattress toppers

       for bad backs. This is no different than what is required for Plaintiffs, but the latter are not

       given equal treatmern for said necessities, or for the required high chair c-f their religion.

       (See attached reques1s u.nd citings.)

   105.       There is no different "safety and security concerns" between ordinary prisoners in

       the DOC being given controlled substances (including opiods and barbiturates), and

       simply allowing Plaintiffs to be given access to small amounts of controlled ritual alcohoi

       and cannabis for rites, and medical marijuana for pain relief when necessary, which would

       be the least-restrictive means of furthering the obvious compelling govermnental interests

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      at issue. Plaintiffs have proposed the alternatives but have been ignored.          The DOC and

      Defendant Rutgers have hundreds of prisoners taking an opiod every day, keeping them

      steadily doped up on large amounts of Suboxin to "treat" their opiod addictions. This

      removes any claim of there not being a way of treating Plaintiffs pain and other ailments

      with legalized medical marijuana instead of leaving to choose between suffering or taking

      unnatural medications that are taboos in Plaintiffs religion.

   106.       Plaintiffs of other beliefs are given pain relief and other medications for such things

      as depression and PTSD 'Nith medications that do not contain pork products, so the

      medications do not conflict with Jewish 2.nd Muslim pris-J1:e::s' beliefs, but no form of

      medical marijuana is permitted for pain relief, depression, and PTSD that is suffered from

      by Plaintiffs ,vithin the DOC. Aside from plant medicine, healing hands, and other

      methods being obiigarnry rites that must be performed when an imbalance is found, ,.-vhirh

      results in a p~·esent lack of the ability to practice essential parts of Plaintiffs' religion, the

      lack of alternatives to U11.t7atural health practices resuits in Plaintiffs within the DOC

      suffering from pain and lack of medical attention, resulting in substantial burdens. F•Jr

      Pl2in.tiffs who were released from the DOC, and for Plaintiffs v;ho ,vill be released from

      the DOC in the near future, there is no legitimate reason tbm 1:hey should not be allowed to

      participate in medicinal rites and ceremonial rites that invoive producing; possessing, and

      using organic cannabis in lieu of unnatural pain relief and other fmms of medication, and

      producing, possessing, and using alcohol, distilled spirits, tobacco, can11abis, mushrooms,

      and other forms of Soma sacrifices as ex-offenders subjected to supervision, and as

      members of the free world in the State of New Jersey and in the United States of American

      and its territories.

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   107.       Likewise, there is also no legitimate reason non-incarcerated Plaintiffs cannot

      create and use bows, spears, and knives to freely perform hunting rites.

   108.       Various groups within the DOC are allowe.d to have various ritual and ceremonial

      iten1s, or are allowed to have items that have been made with essential ritual and

      ceremonial ii:ems, but Plaintiffs in the DOC, and especially plaintiffs at NJSP, EJSP, a'nd

      NSP, are not allowed to have even a single appropriate ceremonial item. Plaintiffs

      sincerely believe they must use specific ritual and ceremonial items that include but are not

      limited to: a mortar and pestle; a blender; offering bowls; spoons; ladJes; cauldrons; rune

      staves, tiles, stones, and cards, dice, and other divination/oracle cards and items, including

      but not limii:ed to a tea set; casting cloths; altars made of stone or wood; altar cloths; seating

      made of wood; ceremonial brooms; musical instruments (minimaliy 2. stringed instrument,

      a drum,~. fiu1.e, and a beii); colored candles; cloak; soil; sea salt; yeas1; fresh and natural

      spring watc~: headpieces; herbs; spices; oils; incense; Troth Rings (for fingers. necklace.

      and ceremonial use): Arm Ring (for upper arm): Thor's Hammer to vvear and Thor's

      Hammer fer ritual use; Thor's Belts; Thor's Gloves; Sacred Substan·:-es, (including but not

      limited to fermented and distilled beverages, tobacco. and cannabis): ceremonial pipes:

      feathers: fresh twigs, branches, and leaves; nuts: seeds; grains; fruit: roots. vegetables;

      berries; mushrooms; buds; sprouts; primitive fire-starting kits; Glodker t_fire pot or

      brazier); meditation beads and strings; ritual a1i supplies; dream pillows; soil; vinegar;

      weaving materials; body art materials, and many other necessary items. (Plaintiffs have

      spoken with spiritual leaders to come up with this list of essential items for Plaintiffs as a

      whole, but there are additional items for individual practitioner plaintiffs that are not listed

      but are nevertheless essential to them. There are also additional items that would

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      potentially pose security threats in some maximum-security situations, so essential items

      such as ceremonial knives, axes, shields, swords, bows and arrows, and spears are agreed

      to be symbolically produced with plant foods, clay and/or a combination of organic bread

      and natural glue by Plaintiffs in some prison situations, and with IMP-approved plant

      materials for edibie sacrifices to provide the least~restrictive means of Defendants

      furthering the related compelling governmental interests. Hmvever, Plaintiffs without

      security threats claim that there is no difference between civilian shop workers observing

      prisoners who '.Vork with dangerous tools and civilian staff members supervising prisoners

      performing rituals that require the use of the aforementioned essential cerernonial

      weapons.)

   109.      Plaintiffs in the DOC are pennitted at best to possess only a personal Thor's

      Hammer, which is often denied and/or taken if metal or wood, and even if 1hey are able to

      get one, they must go against their beliefs by hiding it under their shirts, whereas other

      reiigious symbols for other prisoners can be displayed, and other prisoners of other faiths

      are permitted to have identical if not comparable items/products/access for i:heir religions.

      Crosses and other religious medallions are pern1itted, but Hammers have been being seized

      in NJSP and EJSP. and not permitted in SWSP. For Godian-Asatru plaintiffs, the

      hammers must be wooden and made by Plaintiffs according to strict practices.

   110.      Plaintiffs sincerely believe they must create and use ritual and ceremonial musical

      items with natural materials. This is not permitted for Plaintiffs in the DOC, though it is

      permitted for members of the Christian religion, who are given various times to use

      musical instruments in all the prisons, are allowed to possess them in their cells in EJSP



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      without a waiting period, and are allowed to play in a band and have a band play during

      various Christian services.

   111.       Chiistian groups in the DOC and particularly at EJSP are permitted to have art

      dcisses and art products, Muslims are allowed to practice calligraphy and gather to study

      the techniques for writi11g Arabic calligraphy, and Native AJnericans are allowed to retain

      aii supplies to make ritual items, but Plaintiffs are not allO\ved to perform their essential art

      rites in most prisons. Plaintiffs sincerely believe they must produce 1itual art every day

      with natural materials, and 1:his ritual aii must be used in daily rites as offerings and/or

      worn, buried, sun.1<en into wells, burned, or placed on shrines and altars. Plaintiffs 'Nitl:in

      the DOC are not allowed to perform any of these rites, and they are not allmved to have

      statues, shrines or altars, which they sincerely believe they must build up as living spaces

      that must be ~<=I off from normal space and be dedicated exclusively ir, sacred rirnal

      activities, wi:.!.:out ever beir:.g subjected to any other activities or the presence of any

      supremacist monotheists.

   112.       Defendants Seven imd Ten have deprived plaintiffs of equal religious exemption

      from state and federal laws that subject plaintiffs to punisJ,_ment for performing rites that

      involve alcohol, muslu·ooms. tobacco. ca1mabis, and similar sacred substances. aniffials.

      fellmv believers, chance taking, huntit1g, fishing, and farming.

   113.       Plaintiffs within the DOC are offered only unnatural forms of addiction-treatment

      medications by Defendant Rutgers and Defendants Murphy and New Jersey, and Plaintiffs

      within the DOC are also offered only monotheistic-based forms of addiction-treatment

      programs. The result is that Plaintiffs who are addicted have to choose between



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      compromising their sincerely held beliefs or not having any form of treatment and

      programmmg.

   114.      Plaintiffs Nick Alexander and Robert Andersavage left the DOC and died from

      drug overdoses because said defendants left them with only the aforementioned forms of

      treatinent and progra:rn.n1ing. Defendants Akins, Wilcox, and Brantley have done nothing

      to change this process, and Defendants Lee, Ricci, D'llio, Hicks, Murphy, and New Jersey

      have been· deliberately indifferent.

   115.      Many Plaintiffs ,vithin the DOC were forced in 20i8, 2019, and 2020 tO panicipate

      in monotheistic-based addiction programs in order to get their objective points scores

      lowered and to have their contact visiting privileges restored. Defendants Akins, \Vilco:-c,

      and Brantiey 1--:.ave done nothing to change this process, and Defendants Lee, Ricci, D'llio,

      Hicks, Murp11y, and New Jersey have been deliberately indifferent.

   116.      At NSP. Christian prisoners who are in the Protestant band are ~HO\ved to keep their

      musical instrnments in their cells
                                    .
                                         and transno11
                                                  - them back and forth from their cells to the
      chapel for practice days and for worship performances. Plaintiffs in NS? are not even

      allowed to possess instruments, let alone transport them. Members of a non-reiigious

      band that is controlled through religious services at NSP are allowed to keep keyboards,

      guitars, and other devices (including t1.mers and foot pedals) in their 2ells and transpo1i

      them back and forth to band practice three times a week, but Plaintiffs are deprived of this

      opportunity for their religious rites. Defendant Brantley has not intervened to render this

      process equal.

   117.      Defendants Akins, Wilcox, and Brantley have allowed Catholics to keep large

      crosses, banners, stations of the cross, candles, and living plants in the chapels, but

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        Plaintiffs are not allowed to have anything other than literature, and even that has been

        banned in some instances because certain words in the Eddas do not conform to the ·

        religious moral standards ofsaid defendants. Defendants Lee; Ricci, D'llio, Hicks,

        Murphy, and New Jersey have been deliberately indifferent.

   118..        Plaintiffs within the DOC are compelled to conform to a monotheistic set of ritual

        and ceremonial foods and drinks that are approved by the IMP, without consideration of

        the diversity within their polytheistic religion, which requires specific offerings for each

        deity. Catholics, Jewish in..111ates, Native Americans, and Muslims are alloYved ta have the

        precise foods and drir!..1<::S needed for their monotheistic rites. Limiting Plaintiffs to only

        one set of offerings forces them to conform to monotheistic beliefs and practices.

        Defendants 1\kins, ·wilcox, and Brantley have done nothing to change this process, and

        Defendants Lee, Ricci. D'llio, Hicks, Murphy, and New Jersey have been delfof.'tately

        indifferent.

   l i 9.       Members of other religious groups are allovvcd to transport their JP5 players back

        and forth from the chapels in the DOC to play religious music and prnctice it with others,

        and to read religious literature that is on the tablets, but Plaintiffs are net allowed to   do this.
        Defendants Ji....kins, y\1/ilcox, and Brantley have done nothing to change this process, and

        Defendants Lee, Ri::ci, D'llio, Hicks, M1.L.rphy, ::md New Jersey have been deliberately

        indifferent.

   120.         Plaintiffs within the DOC have also been subjected to disparate treatment by

        defendants Ricci, D'llio, and Hicks by being deprived of the equal ability to start and

        maintain a non-profit organization, and by not being able to collect, generate, save, and

        spend group funds for nonprofit purposes.

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                                  COUNT FOUR

  PLAINTIFFS WITHIN NJDOC HAVE BEEN RETALIATED AGAINST BY ALL
  DEFENDANTS EXCEPT JPAY AND THE USA FOR PRACTICING THEIR RELIGION
  OR ATTEMPTING TO DO SO, AND FOR UTILIZING THE GRIEVANCE AND
  COURT SYSTE~S TO HAVE THEIR RIGHTS ENFORCED.

  121 Plaintiffs within the NJDOC have been retaliated against

  in multiple ways by Defendants.          Plaintiffs have been threatened

  that their gatherings will be canceled, they will have their

  cells searched and their property destroyed, they will be given

  truu1ped-up charyes, and/or they will be moved to less favorable

  housing units and less-favorable prisons if they continue to

  use the grievance and court systems to complain about issues

  listed in this complaint.      After being threatened, some

  plaintiffs continued to file complaints, and all of the

  threatened actions took place, including having the Plaintiff

  who created all of the docuinents in this case (Planker) shipped

  out to a less-favorable prison, and having his legal property

  seized and his word processor oroken.         Asatru gatherings were

  also canceled.    These retaliatory actions took place after the

  threats had been made and the court had been notified of some

  threats, and after Defendants began being receiving large amounts

  of grievance filings and began being served with a complaint

  listing issues that are also raised in this complaint.



                                  COUNT FIVE

  PLAINTIFFS HAVE BEEN SUBJECTED TO CRUEL AND UNUSUAL PUNISHMENT
  BY ALL DEFENDANTS EXCEPT JPAY.

  122. Plaintiffs who are currently incarcerated or were recently
  incarcerated within NJDOC suffer from and/or have suffered froffi
  cruel and unusual punishment in violation of the State and

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Federal Constitutions in the ways listed within this complaint,
out especially in the following ways for confined Plaintiffs
and soon-to-be confined Plai11tiffs:

1) No religiously acceJtable (organic/natural) food and water;
2) No religiously acceptable (organic/natural) hygiene products;
3) No religiously acceptable medical/mental-health treatment;
4) Unsafe and inadequate sleeping and eating conditions;
5) No consideration for sincerely held privacy/modesty beliefs;
6) No safe places to sit for creating ritual literature/art;
7) Lack of time, space & equipment for ritual/normal exercises;
3) Insufficient lighting, sunlight, recreation, and sanitation;
9) Lack of acceptable treatment and programs for addictions;
10) Worn-out mattresses and pillows and lack of pillows;
11) Lack of gloves, scarves, and sufficient cold-weather coats;
12) Lack of safe cups, bowls, utensils and dish detergent;
13) Lack of religious counseling and spiritual fulfillment;
14) Lack of lasting laundry bags and efficient laundry 3ervices;
15) Lack of place, time, and equipment to clean clothes;
16) Lack of place to hang wet and damp clothes;
17) Lack of safe oral hygiene items and regular cleanings;
18) Lack of training and enforcing safe hygiene;
19) Mental and emotional injuries caused by physical injuries.

123. The conditions listed above and throughout this complaint
have led and/or will lead to cruel and unusual punishment for
long-term confined Plaintiffs, in most instances with irreparable
harm, due to Defendant Murphy's, Defendant New Jersey's, and
the DOC Defendants' actions and/or inactions that have resulted
in direct rulings by some Defendants and deliberate indifference
by others.   Without having any forin of natural treatments,
incarcerated and potentially incarcerated Plaintiffs suffer
from or will suffer from pain, depression, digestive problems,
dehydration, malnutrition, injuries and scars from falling off
top bunks that lack steps and handles, back and neck injuries
from worn mattresses and worn pillow or lack of pillows,
inability to maintain proper posture, arthritis, mi~raines,
dangerous shifts back and forth between unsafe weight loss
and obesity, high blood pressure and blood in urine samples
and bladder cancer in at least one instance (Plaintiff Planker},
loss of muscle structure, restless leg syndrome, problems with
vision that resulted from poor lighting and long-term confinement
to cells without being a~le to absorb sunlight or look at
anything from a distance, fungal infections and other skin
diseases from lack of safe ventilation, lack of cleaning
supplies, insufficient shower time and showers that are scaldiny
hot and non-ventilated, cells and showers that are mold infested
and not cleaned properly, and forced confinement with cellmates
who are not taught/forced to practice safe hygiene. Aside from
being Eighth-Amendment violations for incarcerated, and
soon-to-be-incarcerated Plaintiffs, and for Plaintiffs on parole
and probation, the previously following listed conditions also
violate said Plaintiffs' religious rights and their equal

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      rights under the N.J. and U.S. Constitutions, the New Jersey Torts Claims Act, RLUIPA,

      RFRA, and any other authority.




                                              Count Six

      DEFENDANTS SEVEN, EIGHT, AND TEN HA VE DEPRIVED PLAINTIFFS
      ON PAROLE AND PROBATION OF THE ABILITY TO FREELY PRACTICE
      THEIR SINCERELY HELD BELIEFS, RESULTING IN SIGNIFICANT
      BURDENS..


   124.       Plair!tiffs on parole and probation are not allowed to perform lm!1ting and fishing

      rites, and are not allmved to engage in rites that require them to create, possess, and use

      bows, arrows, and knives, or produce, posssess, and consume sacred substances that

      include but are not limited to brev.red and distilled alcohol and cannabis.




                                             Count Seven

      DEFENDANTS IvJlJRPHY, NEW JERSEY, AND THE UNITED                        STATES OF
      AMERICA HAVE DEPRIVED PLAINTIFFS IN SOCIETY IN                          THE STATE
      OF NEW JERSE\T AND ELSEWHERE WITHIN THE UNITED                          STATES OF
      AMERICA OF THE ABILITY TO FREELY PRACTICE THEIR                         SD-JCEREL Y
      HELD BELIEFS, RESULTING D\i SIGNIFICANT BURDENS.


   125.       Plaintiffs \Vho lack the funds or are subjected to state and federnl obstacles and

      penalties, \\'hich they cannot overcome or will not risk receiving, are unable to freely

      practice rites involving ritual chance taking and divining, gifting, house-guest rites; funeral

      rites. coming-of-age rites, making ce1iain sacrifices, consuming certain foods, and other

      rites listed in the attached list of prohibited rites.



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                                           Count Eight

      DEFENDANT AKINS HAS ACTED IN HIS OFFICIAL AND INDIVIDUAL
      CAPACITY, UNDER COLOR OF STATE LAW, WITH MALICIOUS INTENT,
      TO COMMIT DISTINCT CIVIL CRIMES AGAINST PLAINTIFFS AT EJSP.


   126.       Contrary to therequirements of the IMP, Defendaii.t Akins has allowed plaintiffs at

      EJSP to gather only on dates near to the solstices and equinoxes, but not on the precise

      dates of the solar events, and usually at night when the sun is not present. None of the 27

      other approved holy days are acknowledged, and the groups' specific holy days have not

      been locally approved, and Defendant Akins will not intervene to help.

   127.       Defendant PJcins has refused to ensure that all plaintiffs at the prison are placed on

      the holy day 1i'3t for the only four holy days he approves. leading to several plaintiffs being

      deprived of g2.thering for one or more of the four High Holy Days.      With other groups,

      Defendant Akins and his staff members sit down with members and have them proof read

      the holiday pass list to let them make sure that all of their membe1·s are iisted, bm he will

      not let Plaintiffs see their holy day list ahead of time, leading to several names being

      omitted and several Plaintiffs not knowing until they are turned a,vay on the holy day. For

      example, ~ach of the follo'.ving plaintiffs were kept off at least one of the solstice and

      equinox gathering lists at EJSP in 2018 and 2019: Dehaven, Lucas, Atwell, Crow, Ramm,

      Helm, Shaver. Dougherty, Plank.er, and Cassella.

   128.       Defendant Akins also limits Plaintiffs study group list to only 15 people at a time (a

      restriction not applied to other groups), and then limits the holy day list to only people who

      are on the restricted list.

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   129.        Defendant Akins also refuses to allow Plaintiffs to have an actual worship service

       at EJSP, and instead gives them only a study time.

   130.        For several weeks, Defendant Akins withheld musical instruments that were sent

       into EJSP for plaintiffs out of spite in 2019, and had Godian gatherings cancelled in 2020.

   131.        Defendant Akins allowed all other groups to participate in a Thursday Night

       gathering where a free forum of religious topics were spoken about and studied, but told

       three plaintiffs that they could not participate and that they and all other Asatru members

       were not allowed to attend again, simply based on Asatru members bei~g the oniy group

       not allmved to use the open callout night to gather.

   132.        Defendant Akins 'Nould r.ot contact volunteers or reach out to find information and

       volunteers fo:::- Asatru groups at the prison, despite having been given several names and

       information.

   133.        Defendant Akins would not obtain, dovvnload, or print out free Asatru l:terature for

       plaintiffs, despite having been given plenty of information and requests to do so.

   134.        Defendant Akins '.Vas instructed by the administration to accomr~1odate Plaintiffs

       v,1ith equal treatment, but did not do so.

   13 5.       Defendant Akins has also deprived Asauu members in his prison of having equal

       callouts and gathering times, equal access to musical equipme:::u, equal ability to have the

       foods, drinks, items, and accommodations necessary to perform their rites, equal ability to

       prepare their own foods and have foods and drinks that are religiously appropriate, and the

       ability to otherwise enjoy equal treatment as listed elsewhere in this complaint.

   136.        Members of other religions are allowed to have their musical instruments,religious

       foods and drinks, prayer rugs, and other such items in their cells at EJSP, but Plaintiffs are

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        not allowed to have similar items that fit the requirements of Organic Asatru, and

        Defendant Akins will not intervene.

    13 7.       Defendant Akins allows other religious groups and inmate groups to use all of the

        musical and sound equipment from religious services and the recreation department, but

        will not allow plaimiffs to use it.

   138.         Defendant Akins schedules and allows over thirty callouts a week for Christiaiis

        and over twenty callouts a week for Muslims, but has deprived Plaintiffs of more than a

        single callm!i: a week, on a day 1hat is often car..celed for cleaning and for other re2-sons.

   139.         Defendant Akins intervenes to ensure that Christians are able to lock with fellow

        Christians, but ,.vill   !10t   do the same for Plaintiffs.

   140.         Defer:.dant A.kins allows Native Americans and others to do such things as gather

        outdoors, sm<)ke rnbacc,:). use candles, etc. but will not allow Plaintiffs   lO   gather outdoors,

        etc., despite 1;:;:iat he has been given literature demonstrating that outdo8r gatl:enngs,

        tobacco, flames, etc. are essential for Organic Asatru members (Godians at EJSP) to

        practice their rites. Defendant Akins v,;on't help get Plaintiffs approved and won't

        properly represent Plaintiffs' needs to the administration, RIC, and others above him.

   141.         Defendant Akins has some of his followers and his workers grow and maintain a

        collection of living plants that are constantly being interchanged tc enirnnce the religious

        experience for other groups, but will not allow Plaintiffs to have living plants during their

        rites, despite that he. has been given literature demonstrating that iiving plants are essential

        for Organic Asatru members (Godians at EJSP) to incorporate living plants in their rites.

   142.         Defendant Akins retaliated against Plaintiffs by having some of them moved,

        keeping some of them off lists, and contributing to having at least one. member shipped out

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       of the prison after having threatened to do so if the grievance system and other complaints

       continued to be submitted, or if Plaintiffs sought relief from the courts.

   143.        Defendant Akins withheld and misappropriated funds that were supposed to be

       divided amongst all religious groups. Plaintiffs were never given any portion of the

       funding, despite that they continued to submit lists of books and other items that Defendant

       Akins claimed he would arrange to be ordered from the funding,

   14-4.      Defendant J\Jcins would not ensure that the pass list and faith-declaration forms

       separate Plaintiffs from \Viccans and distinguish behveen Asatru, Odi1;.ism, and i.,X/icc2.,

       forcing some Plaintiffs to forfeit attending gatherings due to their unwillingness to declare

       themselves as something contrary to their beliefs, be called something contrary to their

       beliefs, and/or be associated with something contrary to their beliefs, and forcing other

       Plaintiffs to 6eclare themselves something that is contraty to their belief, be called

       something contrary to their beliefs, and be associated with something :::ontrary to their

       beliefs in order to attend gatherings.

   14 5.      Defendant A.kins ,vot"!.ld not ensure that Plaintiffs are given eqEal positions as clerks

       and set-up members, as is done for other groups.

   146.       Defendant Akins will not allow Plaintiffs to have an altar for their group, but allows

       Ci1ristians to have a podium/ altar that has distinctively Christian symbols and ,vording.

   147.       Defendant .Akins will not intervene to explain to the administration and the

       Religious Issues Committee that it is necessary for Plaintiffs to prepare their own ritual and

       ceremonial foods, so that they can ritually charge the foods and ensure that essential

       purification rites have been performed in order to have the food rendered fit for the

       transubstantiation process conducted within the actual holy day rites.

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   148.        Defendant Akins will not help ensure that Plaintiffs are able to have polytheistic

       offerings for their deities, rather than being forced to conform to only one type of offering

       for one deity, when all members of the Asatru family represented by Plaintiffs have a

       minimum of over fifty deities who must be given specific offerings. Plaintiffs sincerely

       believe they must provide their deities With their coi"responding offerings to avoid

       offending and/or failing to appease their deities.

   149.        Defendant Akins will not assist Plaintiffs in gaining permission to order and use

       items that are essential to the ways in which Plaintiffs sincerely belie,;e they l'!lust practice

       their religion, including but not limited to having ritual and ceremonial items,

       corresponding offerings and materials for making correspondir..g offerings, having dream

       pillows and meditation mats large enough to perform rune yoga, and having the ability to

       order and take DNA tests w ascertain each individual's personal spi.ritual heritage, which

       Plaintiffs met do in order to p:::-actice their religion properly.

   150.        Defendant Akins has failed to provide plaintiffs with equai storage space for thei,

       items and equal literature dispiays.

   151.        Defendant Akins will not help ensure that Plaintiffs are given equal funding and

       services.
    -,)
   1)~.        Defendant Akins vvill not ensure that Plaintiffs' religious gatherings and eve1ts are

       posted throughout the prison and through the prison's video bulletin, as he ensures is dor..e

       for other groups.

   i 53.       Defendant Akins will not ensure that Plaintiffs have a gathering environment that is

       free from symbols, sights, smells, and sounds that are associated with the destruction and

       hatred of Plaintiffs' religion and its followers. Monotheistic books, symbols, words,

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       music, prayers, and other offensive distractions are constantly present when Plaintiffs

       gather, and they are forced to endure these symbols of hatred for their religion and signs of

       the destruction of their religion and its followers.

   154.        Defendant Akins will not help ensure that Plaintiffs are able to shower before their

       gatherings, as is done for other groups.

   15 5.       Defendant Akins will not ensure that plaintiffs have tables for eating during the

       holy day gatherings: instead, they are given only one table to hold the trays of food, and

       have no place rn eat.

   156.       Defendant Akins 'Nill not help ensure that Plaintiffs are given equal treatment

       during feast gatherings, as is done for banquets for other groups. There 2re no serving

       utensils, no ability to have photographs taken, insufficient seating, no table cloths, no

       ability to invite guests. no ability w order items and have them deiivered. for the banquet.

       such as Muslims and Criristians being allowed to order sodas from commissary and items

       such as dates and other reiigious foods from street sources. or any of the other treatment

       provided to other groups.

   157.       Defendant Akins will not provide religious counseling to Plaintiffs. despite that it is

       in his job duties. so Plaintiffs at EJSP must go without any form of spirimal or other

       religious counseling while other groups are given counseling.

   158.       Defendant Akins has claimed that more time, funds, items. services, and

       opportunities are required for mainstream groups because there are more members, but it

       stands to reason that there are more mainstream members because they are given more

       time, funds, items services, and opp01iunities. Defendant Akins bragged to some



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 Plaintiffs about having raised the nu,nbers of his followers

 at EJSP through ,nore callouts a:-1d utilizing the funds and

 services for his benefit.       Akins showed preferential treatment

 to his religion above others, and then to monotheism and

 established religions above Plaintiffs' religion.

 159. Defe.:-1da:-1t Aki:-is has deprived Plai:-itiffs in "lock ur,i' 1 of

 e~ual access to religious literature, whereas members of

 mainstream and established religions are given reading literature

 whenever they go to any areas of the prison outside of general

 population.    In 2018 and 2019, Defendant Akins was given

 literature for the following Plaintiffs whom Akins refused to

 ensure were able to have religious literature while out of

 general population: Patriaco, Castalluzzo, Atwell, DeHaven,

 Chapman, Digisoffatte, Smith, and others.           Defendant Akins also

 retaliated against Plaintiffs by having their passes not be

 issued, having their gatherings held in the IGC where it was

 known that they would be regularly canceled, having non-religious

 groups gather instead of Plaintiffs' groups during Plaintiffs

 tiiae and .space without even notifyi:•ig Plaintiffs first, and

 iynoring long-term cancellations and J1issin9 food for Plaintiffs'

 Holy Day yatherings.


                                  Count Nine

 DEFENDANT BRANTLEY ACTED IN IIIS OFFICIAL AND INDIVIDUAL CAPACITY,
 UNDER COLOR OF STATE LAW, AND IN MOST INSTANCES WITH MALICIOUS
 INTENT, TO DEPRIVE PLAINTIFFS AT NSP OF THEIR CIVIL RIGHTS.

 160. Defendant Brantley deprived Plaintiffs of gathering on

 approved precise solar events and for 27 other approved holy

 days, and would not assist in local approval of holy days.

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   161.      In August of 2019, Defendant Brantley was asked to begin allowing plaintiffs at

      NSP to observe the other approved holy days, aside from the four high holy days, but he

      refused to do so. On November 10, 2019, Defendant Brantley was asked to come into

      compliance With 10A: 17-5 .11 ( a), which provides that "Religious holidays of recognized

      faith groups shall be acknowledged," but he merely statedrhattherequest would "be rnken

      into consideration." He subsequently denied plaintiffs the ability to observe the other

      approved holy days at NSP.

   162.      Defrndam Bramiey has also deprived Asatr1J. members in his prison of having equal

      callouts and gathering times, equal access to musical equip:n=:i.:t, equal ability to have the

      foods, drinks, items, and accommodations necessary to perform their rites, equal ability tc

      prepare their own foods and have foods and drinks that are religiously appropnate, ar:.d the

      ability to ofr1erwise enjoy equaj treatment as listed under this count ci.nd elsewhere in 1his

      complaint.

   163.      For several months since August of 2019, Defendant Brantley allowed plaintiffs to

      gather only one day a week, and forced them to sit in a tightly confined closet space a!o:ig

      with Wiccans who have conflicting beliefs and contribute conflicting and offensive

      language to the gatherings. During this time, Plaintiffs were not allowed to use any

      musical instruments, make any loud sounds, have any study days, have any ritual or

      ceremonial items, or have any of the approved foods and drinks to perform their rites. In

      contrast, they were forced to gather in the storage closet that lacks room for all of the

      members on Plaintiffs list, while they listened to the inculcating sounds of Christian

      groups in the large gathering area sing, use musical instruments, pray, and use loud

      anti-polytheistic language that is offensive to Plaintiffs, whose religion and its followers

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      were systematically killed and/or forced to accept the very religion Plaintiffs had to hear

      being celebrated while Plaintiffs were stifled and surrounded by Christian literature and

      symbols

   164.       In addition, Defendant Brantley has told plaintiffs at NSP that they are not allowed

      to chant, sing, or play mt1sical instruments on their worship~service day or during their holy

      day gatherings, whereas other groups are allowed to perform such religious music during

      their worship service days and holiday gatherings. The reason for not allo\ving Plaintiffs

      rn make noi~e on 1:heir worship-service day is that there is a conflict between Plaimiffs

      needing to chant, sing, and play music for their rites, and the Buddhists ('Nh0 are also in the

      chapel area at that time) needing to have silence for their meditative rites. The c:onfiict

      was resolved in favor of the Buddhists, rather than having the two groups rescheduled to

      end the co1111ict, or having them alternate so some of the time is spern allowing each group

      to practice their rites. Moreover, Plaintiffs haYe to hear the Buddhists ringing bells and

      making other sounds, and Piaintiffs have to hear Christians and Muslims make sounds

      during Plaintiffs gathering times. The Buddhists, Christians, and L-iuslims are not

      reouired
         ,     to alter their rites in favor of "nlaintiffs.

   165.       In January of 2020, Defendant Brantley finally began allO\ving some of the

      members on Plaintiffs' list to gather for a study day in the small cioset area that hcks room

      for all of the people on Plaintiffs' list. However, it took several weeks and intervention

      from the administration before Defendant Brantley began to allow Plaintiffs to make any

      sounds during their gatherings. At first, they were limited to using only one guitar and

      two bongo drums. After additional intervention from the adn1inistration, Plaintiffs were

      told by Defendant Brantley that they could begin using all of the musical equipment; but

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      they were still placed in a small area where they could not fit all of the equipment, and they

      then had to ask additional members to stop coming in order for there to be room for a small

      p9rtion of the musical equipment to be used by an even smaller amount of the people on

      Plaintiffs' list.

   J66.        Other groups at NSP are also allowed to have at least one day for practicing their

      music, as well as at least one day for studying, but Plaintiffs are not given any time to

      practice or study. and are not allowed to perform their musical offerings during their

      worship day.

   167.        Members of other religions are allowed to have their musical instruments, religious

      foods and drinks, prayer rugs, and other such items in their cells at NSP, but Pl2-intiffs are

      not allowed tc have simiiar items that fit the requirements of Organic Asatru. and

      Defendant Frantie" will 1101 intervene.

   168.        Deti:1dant Br2.ntley has scheduled some prisoners to gather six day::: a ·.veek, and

      twice a day for three of those days, but vviil not allow Plaintiffs to gather for their daily

      rites.

   169.        Defendant Brantley would not contact volunteers or reach out to find information

      and volunteers for Asatru groups at the prison, despite having been given several names

      and information.

   170.        Defendant Brantley would not obtain, download, or print out free Asatru literature

      for plaintiffs, despite having been given plenty of information and requests to do so.

   171.        Defendant Brantley was instructed by the administration to accommodate Plaintiffs

      with equal treatment, but did not do so.



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   172.       Defendant Brantley will not allow Plaintiffs to have an altar for their group, but

      allows Christians to have a podium/ altar that has distinctively Christian symbols and

      wording.

   173.       Defendant Brantley will not intervene to explain to the administration and the

      Religious Issues Commit1ee that it is necessary for Plaintiffs to prepare their O\Vn ritual and

      ceremonial foods, so that they can ritually charge the foods and ensure that essential

      p1.:rification rites have been performed in order to have the food rendered fit for the

      transubstantimion process conducted within the actual holy day rites.

   174.      Defendant Brantley 1.vill not help ensure that Plaintiffs are able to have polytheistic

      offerings for their deities, rather than being forced to ccnform rn only one type of offering

      for one deity. \Vhen all members of the Asatru family represented by Plaintiffs have a

      minimum cr1 over fifty deities ,vho must be given specific offerings. Plaintiffs sir!cerel:1

      believe they must proYide their deities with their corresponding oftenngs to a';oid

      cffending and/or failing to appease their deities.

   175.      Defendant Bramley will not assist Plaimiffs in gaining pem~~ssion to order and·use

      items that are essential to the ways in which Plaintiffs sincerely believe they must practice

      their reiigion, including but net limited to having ritual anc ceremonial items,

      corresponding offerings a...'1d materials for making corresponding offerings, having dream

      pillows and meditation mats large to perform rune yoga, and having the ability to order and

      take DNA tests to ascertain each individual's personal spiritual heritage, which Plaintiffs

      must do in order to practice their religion properly.

   176.      Defendant Brantley has failed to provide plaintiffs with equal storage space for

      their items and equal literature displays.

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   177.        Defendant Brantley will not help ensure that Plaintiffs are given equal funding and

       services.

   178.        Defendant Brantley will not ensure that Plaintiffs religious gatherings and events

       are posted throughout the prison and through the prison's video bulletin, as he ensures is

       done for other groups.

   179.        Defendant Brantley will not ensure that Plaintiffs have a gathering environment

       that is free from symbols, sights, smells, and sounds that are associated with the destruction

       and hatred of ?laintiffs' religion and its followers.   Monotheistic books, symbols, Yvords,

       music, p::.-ayers, and other offensive distractions are constantly present when Plaintiffs

       gather, and they are forced to endure these symbols of hatred for the~"!:" religi::m and signs of

       the destruction of their religion and its followers.

   i 80.       Defep6;:mt Bra.miey will not ensure that Plaintiffs have enougi:_, room   TO   gather for

       their regular]:, scheduled callout; or for their holy day gatherings. lr,:;tead, they are

       packed into a smali closet area without enough room for all of the members to fit.         The

       room is in the shape uf a triangle that is approximately sixteen feet on the longest wall and

       ten feet on the shortest wall, with shelves and cabinets sticking out two to tlu·ee feet on all

       of the walls, leavingroom for no more than nine people to sit shoulder to shoulder. There

       is insignificant air ventilation in the room for that many people, and the gatherings have

       been uncomfortable, ,vith many members being asked to avoid coming in order to have

       room for everyone to fit, and many other members to not come on their own due to

       frustration with the uncomfortable conditions. It is also a fire-code violation for that

       many people to be in the small area.



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181. Defendant Brantley will not ensure Plaintiffs are given

equal rights to shower before their gatherings.

182. Defendant Bra~tley will not ensure Plaintiff are given

ritual trays during lock downs (as happened on March 19, 2020),

or given access to feast trays and instruments in ad seg.

183. Defendant Brantley will not transport an instrument from

property to the chapel where it is approved for Plaintiffs to

use, and will not let Plaintiffs order religious instruments.

134. Defendant Drantley will not ensure Plaintiffs are given

egual treatment during feast gatherings.        They are not give:-1

serving utensils, the ability to have photographs taken,          the

ability to i~vite guests, or access to tables at which to eat.

185. Defendant Brantley will not ensure the pass list and

faith-declaration forms separate Plaintiffs from Wiccans and

distinguish between Asatru, Odinism, and Wicca, forcing

Plaintiffs to either forfeit attending gatherings or compromise

their beliefs due to their unwillingness or co1apulsion to declare

themselves as something contrary to their beliefs, be called

something contrary to their beliefs, and/or be associated with

somethi~19 contrary to their beliefs.

186. Defendant Brantley will not ensure Plaintiffs are given

equal positions as clerks and set-up members.         Plaintiffs are

not called down early to set up :nusical equipment for practice

time, cutting their practice time down to less time in their

single ~eekly use of instru~ents, in addition to having only

one day a week to use musical equipment in an area that doesn't

fit all memners or all equipment.        It's a four-part inequality.

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                                           Count Ten

       DEFENDANT JOHN DOE CONSPIRED TO RETALIATE AGAINST AT
       LEAST ONE PLAINTIFF BY HAVING HIM TRANSFERRED FROM EAST
       JERSEY STATE PRISONTO NORTHERN STATE PRISON IN AUGUST OF
       2019, AFTER SEVERAL PLAINTIFFS WERE WARNED THAT SUCH
       RETALIATION WOULD TAKE PLACE IF THEY CONTINUED TO FILE
       GRIEVANCES OR SEEK RELIEF FROM THE COURT, WHICH THEY DID.




   187.       Sometime in August of 2019, the Plaintiff Number One, the plaintiff,.vho filed foe

       most grievances and ot!1er compiamts, and the piaintiff responsible for creating and filing

       legal documents and hc1ving severed DOC defendants served by the U.S Marsh;:i_l]s Servi,;e.

       ,vas shipped :mt at the direction of Defendant John Doe based on ret2!:ation for Plaintiff

       Number One engaging in the aforementioned protected actions.



                                          Count Eleven

       DEFENDANT JANE DOE DISCRIMINATED AGAINST 8 PLAfrJTIFFS BY
       HAVING THET\1 MOVED AT NORTHERN STATE PRISON BASED ON
       THEIR RELIGIOUS BELIEFS.




   188,.      Sometime during the Fall of 2019, there were ten Asatru members on B-1-East at

       N01ihem State Prison, and 8 of them were moved off the tier based on their religious

       beliefs. No other prisoners were moved off the tier that day. The impact was that some


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       of those members and some other Asatru members decided to stop going to Asatru

       services, and others decided not to join. The religion was given a bad reputation, and

       other prisoners, staff members, and officers all looked down on Asatru after that, with

       comments being made that made it dear they now believed members of the group

       belonged to some type of negative belief system.




                                            Count Twelve

       PLA.n,JTIFFS WITHIN THE DOC HA VE BEEN SUBJECTED                                       TO
       ADDITIONAL !v1ISCELANEOUS VIOLATIONS OF THEIR R-1GHTS.




   l 89.       Defendants A kins, Brantley, :md Wilcox deprived new prisoners and prisoners in

       lock up of equal access to religious literature and items. These two defondants ensme that

       men"J bers of Ti1ainstreaff1 gm ups axe given literntme and Iii•~dallions as soon as they come:

       into the building and as soon as they get iockecl up. Permission i<s not needed for Rosary

       beads to be provided tu prisoners ofth::11· fHiih, and there is a stash of readily c1vctilab1e

       rosary beads that are given to Cathoiics whenever they reach the prison or are moved to a

       pre-hearing detention or segregation cell. This allows members of that faith to be given

       religious medallions faster and without cost at all times. This is disparate treatment and

       Plaintiffs have been deprived of the equal ability to have Thor's hammers, runes, and other

       such religious items readily available. In many cases, they can't have the items at all; in

       other cases, they can have only items that conform to the type for monotheists.




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   190.        Defendants Akins, Brantley, Wilcox refused to consider, approved, or even

       acknowledge Plaintiffs' requests to practice the Organic Asatru version of their beliefs, as

       described in the attached requests and appendices.

  · 191.       Defendants Lee, Ricci, D'llio, and Hicks refused to consider or acknowledge

       Plaintiffs appeals from the lack of consideration, approval and/or acknowledgement of

       Plaintiffs' requests to practice the Organic Asatru version of their beliefs, as described in

       the attached requests and appendices.

   192.        Plaintiffs in most prisons within the DOC are deprived of the abilityto purdmse

       safe toothbrushes and flossing materials or have access to them. Oral hygiene is a

       mandatory part of Plaintiffs' sincerely held beliefs, as they believe their god Thor died from

       smelling the foul breath of the World Serpent, and they believe bad breath impedes their

       ability to reacb fniJ states of meditation. In oniy one prison within ,:;1e DOC the srnte

       provides o:il:: one toothbrush that is manufactured for the purpose of being 'Jsec more than

       one time. It is a soft-bristled securitv brush that is flexibie and has a short handle. It is

       given out t0 prisoners when they first enter into Bayside State Prison ("Bayside"). This

       toothbrush is not sold anywhere and is not provided anywhere else in the prison system.

       With the exception ofNSP, the only toothbrush sold and provided to incarcerated Plaintiffs

       is the san'le size as the one provided at Bayside, but it is meant for only one use, it has

       dangerously hard bristles, it becomes rusty within a few uses from metal pieces securing

       the bristles, and it is dangerous even on the first use because it scrapes gums due to the stiff

       bristles. After more than one use, its bristles become splayed and they cut into the gums.

       The handle is not flexible, and the company that makes the toothbrush has stated that it is

       not made for more than one use. Nevertheless, all prisons other than Bayside State Prison

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      provide the dangerous version upon entry, and the only toothbrush for sale throughout

      every prison except NSP in the DOC is the dangerous one. ·In most areas of the prisons,

      ·there is a limit as to how many toothbrushes can be ordered, and it limited to as little as two

      single-use toothbrushes per month in NJSP administrative segregation and ten per order in

      EJSP population. This allo,vs for only a limited amount of times Plaintiffs can btush their

      teeth, and leaves Plaintiffs unable to brush their teeth anywhere near as often as

      recommended by
                   . the An1ei-ican Dental Association ("ADA").
                                                       .
   193.       The ADA recommends flossing at least once a day, but this is either not possible in

      some prisons or is excessiYely costly throughcut the DOC. !n NJSP,        EO   form of ficss is

      sold or provided. In NSP and EJSP, ineffective dental bops are sold at costly prices

      Defendants R1 1:ci, D'llio, and Hicks are deiiberately indifferent to this problem.

   194.       Defendant Rutgers provtdes dental cleanings only once every nvo years. and it faiis

      to provide sa±'.: dental hygiene products and procedures that are in agreement vnth

      F'iaintiffs' beliefs. The ADA states that cleanings shouid be done every six months. The

      sh01i-term impact is bad encugh, but the long-terrn impact for Plaintiffs serving several

      years behind bars has resulted in permanent damage to many Plaintiffs' teeth and gums.




                                          Count Thirteen

      DEFENDANT JP A Y HAS DEPRIVED PLAINTIFFS OF THEIR RITES IN
      NUMEROUS WAYS.


   195.       Defendant JP A Y provides exploding batteries and other dangerous conditions in

      the DOC, and has participated in bait-and-switch tactics to deceive Plaintiffs in the DOC.


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      JP A Y has installed kiosks throughout the prison system, but not enough kiosks for

      sufficient use, and not enough staff members to keep the kiosks working. Plaintiffs are

      limited to only one 20-minute session each time they are granted the ability to use the

      kiosk, which Plaintiffs must use in order to access the DOC grievance system, check their

      e-mails. check their prison accounts, sign up for programs. submit sick-call requests and

      other medical requests, access the news stand, order and download music and books, and

      enter JPAY trouble tickets.

   196.       Mos~ ?laintiffs are limited to only one or two 20-minute kiosk sessions per ,.veek,

      and sometimes less than that. Plaintiffs often have to forfeit recreaticn, mess movements,

      and religious study groups or other s .1ch passes in order to access the kiosk system, which
                                             1




      further interfrres with grieYa!lces, etc.

   197.       DefrJ•dam JPAY's K.iosk pwgram allows access w DOC grie,;ance sysrem.

      Plaintiffs ort:;n have problems using the grievance system because the kiosks are frozen or

      othenvise not in working order. \Vhen the kiosks are in working order, the system often

      fails to record what was typed, and instead provides a notice explair::.iE1g that the grievance

      filing was not entered into the system. The kiosks often freeze for several minutes in each

      session leaving only a very small amount of time to use the grievm,ce system.

   198.       Plaintiffs must choose to access the grievance system or check their e-mails, check

      their prison accounts, sign up for programs, submit sick-call requests and other medical

      requests, access the news stand, games, and card orders, order and download music and

      books, enter JP A Y trouble tickets, and so forth.

   199.       Even if Plaintiffs were to forego using the other options on the kiosk and devote

      their short 20-minute sessions exclusively to accessing the grievance system, some of this

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      time must be spent reading the previous responses from prior submissions, so the time is

      limited, Moreover, in many cases, the grievance system cannot be accessed on the kiosk,

      and only mail media options are available for several days to several weeks in some cases.
                                .                                   .
   200.       Defendant JPAY entered into a contract with Defendant New Jersey to, in part,

      provide   a digital grievance system that Plaintiffs are able to use through :kiosks that are
      stationed around the prisons. After the system was put into place, the administrations at

      NJSP, NSP, and EJSP phased out the distiibution and responses to h2-:·d copies of

      inquiries, grievances, appeals, and medical slips, and restricted almost ail of their

      responses tc the entries that are submitted en the kiosks.

   201.      In many instances, especially in ad seg, hard copies of the inq .1iry, grievance,
                                                                                 1




      appeal, and medical shps are not even handed out by staff members.

   202.       Consequentlv. 1he grievance aEd rnedi•:ai systems are limited as a result of rhere not

      being enough    '.{lOSk   m:ichines, the machii1es often being dmvn, Plaintiffs bei::g prov1ded

      insufficient time to use the kiosks, Plaintiffs being dissuaded from using the kiosk for only

      grievance and medical issues, staff men-1bers failing to hand out and ansv,-er h,:a-cl copies of

      grievance and medical forms, and the administrative and dovmtown DOC defe:1dants being

      deliberately indifferent to these issues.

   203.      Defendant JPAY advertised a JPS player ("tablet") to Plaimiffs. The

      advertisement claimed the tablet would come with a power cord and would offer an

      FM-stereo function. After Plaintiffs had purchased the tablets, they realized there was no

      power cord and there was no reception on the FM-stereo function. Consequently, the only

      way for Plaintiffs to use the tablet is to pay for batteries and purchase music, etc.

      Plaintiffs are limited to only a certain amount of batteries they can purchase, so they are

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      limited as to how often they can use this product after the bait-and-switch sales tactics had

      been achieved.

   204.       The only batteries provided by Defendant JP A Y and sold in the DOC are

      non~rechargeable, and these batteries state on their sides on the packages that they will

      explode if they are charged. The kiosks charge the batteries when the tablets are hooked

      up for downloading, and Plaintiffs must download frequently in order to prevent the tablets

      from shutting doYvn. i\s a result, the batteries often rupture and leak battery juices into the

      tablets, causing them t0 si:op ,,vorking. Additionally, if nev,r batteries are in the tablets

      ,Nhen they are hooked up to the kiosks, the power from the batteries and from the charge

      the kiosks provide combine to eq1.1al too much power for the tablets, which results in the

      tablets being overloaded and not ,vorking.

   205.       Defendant JPA Y h~s a warrantee for their tablet ::md 2-week warramee for Iheir

      headphones th:n cmmc! be read until after the product hQs been purchased, and the::e 1s no

      notice of how to operate the tabiet or access the warrantec information.

   206.       It takes several weeks ,md sometimes months for JP i'~ Y to approve replacing tablets

      and sending them when it is within the ,varrantee period. During long periods when

      Plaintiffs have been ·without their tablets, they have not been able to acce~s the music and

      other options they paid for, and they must use their short 20-minute kiosk sessicns to re2.d

      their e-mails, address the JP A Y trouble-ticket issues, and otherwise not have time to access

      the grievance and medical systems on the kiosks.

  207.        Some Plaintiffs have had several tablets explode and have gone several months

      without tablets while waiting to get replacements and/or waiting to afford to purchase new

      tablets when Defendant JP A Y claims the warrantees have run out.

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   208.       Defendant IPA Y allows non-medical staff in the DOC system to access

      confidential medical information, including mental-health information about Plaintiffs.




                                          Count Fourteen


      THE UNITED STATES OF A1V[ERICA HAS DEPRIVED PI.,AINTIFFS OF
      THEIR RIGHTS.


   209.       Defendant The United States Government bas allowed such grc1:ps as the Native

      American Church, which has been a legal non-profit organization since 1918, to have

      rdigiolls exernption frorn such things as heing able to perform rit11"ls and c0rnnonies with

      peyote, but tl:i..:;y will no;: do so for Plaintiffs who sincerely believe they must perform rites

      that involve creating, possessing, sharing, and absorbing cannabis, mushrooms,

      moonshine, a.:ml other Soma. Classi:fy.ing cannabis as a schedule-one cfru~ and failing lo




                                               C,)1.mt Fifteen

      DEFENDANT WILCOX HAS REFUSED TO PROVIDE PLAil~TIFFS AT NJSP WITH
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      Vv HAT IS APPROVED FOP. ASATRU, WITH WHAT IS :NEEDED FOR ASATRTJ,
      AND WHAT IS EQUAL FOR ASATRU.




   210.       At N JSP, Defendant \Vile ox is the Chaplain of Religious Services, and he is a

      member of the Religious Issues Committee. He has either directly or indirectly deprived

      Plaintiffs of practicing their religion as it is approved, as it is required to be practiced, and

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           with equal accommodations as those provided to other religious groups at NJSP. He has

           also been deliberately indifferent to issues that he could otherwise alter.

   211.           Defendant Wilcox has lied about issues related to Plaintiffs' religion in order to

           avoid. granting Plaintiffs at NJSP any form of religious rights and equal rights, and to avoid

          being scrutinized for having 1'1ever met with Plaintiffs after having claimed that he had

          done so, would do so, or would and had directed others to do so.

   212.           Defendant \Vilcox claimed that he had personally ki10\vn of documents that had

          been sent to the Religious Issues Committee ("RIC') for requests that rhe EvIP be followed

          and expanded, and that additional considerations be approved to allo .v Pbintiffs at NJSP to
                                                                                 1




          practice their religion without burdens and with equality. Defendant 'Nilcox either did not

          ensure that lhe PJC addressed the matters, or the other defendants of t~1e PJC listed in this

          complaint were deliberately indifferent.

   213.           Defendant Wilc:ox has also deprived Plamtiffs at NJSP of their rights in the ways

          listed elsevvhcre in this Complaint.

   - • L1, .
   Ll             Due to a lack of action on part of Defendant Wilcox, Plaintiffs at NJSP are not

          given any of the items or offerings permitted in the IMP for Asatru, they are not given all of.

          the approved holy days, they are not given equal time for outdoor services, equal callouts,

          or equal access to musical instruments a..'ld practice times, and they are not given any of the

          items they have requested permission to order and retain, including but not limited to the

          items listed elsewhere in this complaint. The only items he appears to have listed in the

          numerous requests submitted to him are natural soap, which he appears to have turned over

          to Defendant Hicks after many months of delays, but only after ignoring several other



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      requests and several additional items in 2016 and 2017, as described in the attached

      documents

                                                Count Sixteen

THE TOP BUNKS AND MATTRESSES IN THE DOC FORCE PLAINTIFFS TO DEFY THEIR
RELIGIOUS BELIEFS; THE MATTRESSES ARE NOT REPLACED OFTEN ENOUGH, AND
THE BUl\fKS ARE TOO HIGH, Ul"JSAFE, AND NOT EQUIPPED WITH ANY SAFE PLACES
TO HOLD OR STEP ON THE WAY UP AND DOVv1'~, AND DEFENDANTS JANE DOE, LEE,
RICCI,D'LLIO, AND HICKS HAVE BEEN DELIBERATELY INDIFFERENT TO THESE
ISSUES.


   215.       Defend~11ts .fa..11e Doe, Lee, Ricci, D'llio, and Hicks were made aware of the

      mimerous problems with the mattresses and top bunks in the DOC, but they \Vere

      deliberately indifferent.

   216.       The r.:1attresses wear out quickiy and are not replaced until long after they have

      worn out and c?.use6. lack of sleep and pain. as we-11 as lack of Plaimiffs' ability to perform

      dream rites.

   217.       Plaintiffs have no place to step or hold while gcning up and down, and several

      Plaintiffs have fallen off top bunks and been injured.

   218.       The bunk.s are also too high for Plaintiffs who practice the elevated meditation rites

      of Organic Asatru, which require sleep to take place lower than the height of the ritual high

      ch:iir in Plaintiffs' historical rites,



                                                Relief Sought

   219.       Plaintiffs seek relief in the form of a preliminary injunction ordering Defendants to

      grant Plaintiffs in the DOC equal time and space for outdoor services and indoor functions.



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   220..       Plaintiffs within the DOC seek preliminary injunctions ordering that Plaintiffs can

       create, publish, and profit from religious literature and art, have privacy for the stated basic

       human functions, and have' safe daily exercise.

   22 l.       Plaintiffs in the DOC seek relief in the form of a preliri1inary inj1mction ordering

       Defendants to allow Plaintiffs in the DOC to temporarily order and pay for their own

       organic foods, and pure spring water pending a ruling asto whether said items must be

       provided by the state.

   222.        Plaintiffs seek relief in the form of a preliminary injunction ordering Defendants to

       allo•;,.r Plaintiffs in the DOC to order and retain organic/namra1 soap and detergent.

   223.        Plaintiffs seek relief in the form of a preliminary injunction ordering Defendants to

       allow Plainti:tts in the DOC to order and retain meditation mats, cushi81:s and dream

       pillows.

   224.        Plaint::rts seek re1iet in the form of a preliminary injunction ordermg Dek'1C3.nts to

       allow Plaintiffs in the DOC to order and retain the items listed herein and in the

       attachmems, and have the means w:cessary for Plaintiffs ::o pefoe:n ritual purificarion and

       their other rites as described in the attached appendix.

   225.        P1aintiffs seek relief in the form of a preliminary injunction ordering Defendams to

       ailow Plaintiffs in the DOC to either be placed in single cells or t() have options to choose

       cellmates who practice the same ritual purification and hygiene laws and don't display

       crosses and other hate symbols or sing any anti-polytheistic religious songs that interfere

       with Plaintiffs' abilities to read religious literature and meditate in peace and iive in their

       beliefs' form of a metaphysically clean living area.




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   226.       Plaintiffs seek an injunction and/or Temporary Restraining Order to prevent any of

      the defendants from charging, incarcerating, or otherwise punishing Plaintiffs for

      performing any of their religious rites, including saving and sprouting seeds, saving apple

      stems and sprouts, and otherwise performing their rituals as described in this complaint and

      the attached declaration and appendix in so far as no legitimate governmental interests are

      ignored, but the least-restrictive means of securing compelling goverm11ental interests are

      employed. Plaintiffs in EJSP seek renewal of Godian-Asatru gatherings.

   227.       Plaimiffs on pc1roie and proba~ion or will soon be on parole and probation who are

      subjected rn violating the conditions of parole and probation and conseque::1.tly entering or

      returning tci the DOC/programs seek an injunctive order that allm•.'s them to practice their

      religion as described in this complaint and the attached declaration and appendix \Vithout

      the fear of D':'ing fineci_ imprisoned, and mherwise significantly burderted.

   228.      Incarc~ratej Plaintiffs seek a Temporary Restraining Order preventing Defendants

      from shipping any of the Plaintiffs out or moving them for iiiegitimate purposes again.

   229.      Plaintiffs in and out of the DOC seek injunctions and declaramry reli-=fthat allmvs

      them to practice their religion as described in this complaint and their submitted literature.

   230.      Godian Plaintiffs additionally seek declaratory relief in the form of an order stating

      that their version of Asatru must be treated with equal protection of the iaws.

  231.       Plaintiffs seek relief in the form of injunctive orders compelliug New Jersey and the

      United States of American and their representative defendants to turn over all

      documentation related to religious exemption and other grounds for being permitted to

      practice Plaintiffs' religion without facing fines, imprisonment, or other such punishments.



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   232.       Plaintiffs seek prospective relief for future Organic Believers in the DOC who will

      be exposed to the aforementioned conditions and significant burdens in administrative

      segregation and population.

   233.       Plaintiffs seek relief for Organic Believers in society or soon to be in society who

      sincerely believe they must hunt, trap, and fish for specific rites, which requires them to

      have religious exemptions, including not paying money to hunt and fish ritual foods, and

      being allmved to possess ceremonial archery sets (bO\v and arrows).

   234.       Plaintiffs also seek aii appropriate punitive damages, compensarnry damages,

      nominal damages, m1d any other relief available, including but not limited to the follmving

      monetary relief.

   235.       Plaintiffs housed in the DOC fi.-om Septeml:-er 2i, 2016 to present seek monetary

      damages in The at!1oun.t of $50 8 day for each Plaintiff who was deprived of eq1Iai servii::':'s

      and other opportunities from religious services, study groups, banquet Dpportur:itic~,

      access to musical equipment and practice time, ability to practice Godian Asatru, etc.

   236.      Plai111iffs l1ot1seci i11 DOC from Se1Jte111ber 21, 2016 to present seek n1011etary

      damages in the amount of $125 a day for each Plaintiff v,rho was deprived of approved

      Holy Day ceremonies on the specific dates for each solstice and equinox, despi:e that the

      Internal Management Procedures allows for those precise dates, and denied Godi3.Ilism.

  237.       Plaintiffs housed in the DOC from September 21, 2016 to present seek monetary

      damages in the amount of $50 a day for each Plaintiff who was deprived of equal treatment

      for sacred gatherings that took place precisely on the solstices and equinoxes for other

      groups, despite that the IMPs state that the holy day gatherings for Plaintiffa must take

      place on those dates, and despite that holy day and holiday events related to the solar and

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       lunar calendars take place on their precise dates for similarly situated prisoners who

       practice Christianity, Judaism, and Islam, and despite that federal holidays are held on the

       precise days. Plaintiffs additionally seek $50 a day for each of the other approved Holy

       Days for Asatru that were not allov,1ed to be celebrated. Plaintiffs hot1sed in NJSP, NSP,

       EJSP and SWSP from September 21, 2016 to present seek monetary damages in the

       amount of $50 a day for each day that Plaintiffs had their medallions seized, not approved,.

       and/or not permitted to be worn in plain view \Vhen these practices and policies were not

       used for similarly situ?.!ed prisoners.

   238.        Plaintiffs housed in EJSP from September 21, 2016 to present seek monetary

       damages in the amount of $50 a day for each Plaintiff who was deprived of equal access to

       outdoor gatl1erings, fire. an.d ~;acred tobacco and other herbs and items. Plaintiffs

       incarcerated   ;!!   the prisons from Sep1ember 21, 2016 to present seek 1,,onetary damages in

       the amoun: d $50 a day for eaci1 Plaintiff who was deprived of equ1i access to omdoo:-

       gatherings, fire, and sacred tobacco and other herbs a,.,d items at N.TSI', which were a,.,d arc

       provided ~o 1:he Native Americam.

   23 9.       Incarcerated Plaintiffs seek Compensatory Relief in the form of 1) $125 to each

       plaintiff for each day that Plaintiffs Atwell, Lucas, Crow, Eelm, Pl.1nker, Cassella, and

       others skipped lunch and yard movements because they had bee:1 told they ,,,ere on the list

       to attend, but were not allowed to participate in the solstice and equinox gatherings at

       EJSP, and for each incarcerated plaintiff who did not get to celebrate the solstice and

       equinox on the exact solar dates from September of 2016 until present; 2) $125 to each

       EJSP Asatrnmember who was not allowed to perform the summer-solstice rune song

       offering that had been prepared for June 21, 2019; 3) $25 a day for each Plaintiff for each

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     day thatAsatm services were not permitted and/or the items and offerings were not

     provided or allowed to be purchased for regularly scheduledw01:ship services and all

     approved holy day rites at all for the prisons and camps; 4) funding in the amount equal to

     the funds that were used for other EJSP religious groups but were not used for Asatruar

     from September of 2016 until present; 5) $125 a day for each plaintiff for each day Asatru

     members in µrehearing detention and administrative segregation in ali prisons, and for

     specifically named plaintiffs at EJSP who were not provided with religious reading

     materials on the days in 2018 and 2019 when plaintiffs Castelluzo, At'Hell, DeHaven,

     Patriaco, Smith, Chapman, and others \Vere detained and DefeEdant Number Akins was

     given religious literature but refused to deliver it or have oee of his ,,vcrkers deliver it; 6)

     $25 a day for    ~1'.::h   dav from September of20l6 onward that the chape!s in all the prisons

     displayed religious iiterature fm mainstream groups but refused to dispiay foerarnre for

     Plaintiffs; 7) ::my addr::10nal compensatory damages that are deemed ap;xopriate by a judge

     and/or a jury.

  240.       Piairn:iffs who have been incarcerated for more than 16 months ::md h;.-::ve suffered

     from the claims listed herein seek punitive and/or compensatory damages of $25,000 and

     an additional $1,500 per month 1eading up to a ruling, each for the aggregate of the

     treatment described. Plaintiffs who ha,:e been incarcerated less than 16 1nonths and have

     been impacted as described herein seek punitive and/or compensatory damages of $1,500

     per month.

  241.      Incarcerated Plaintiffs seek preliminary injunctions compelling Defendants Hicks,

     Akins, Brantley and Wilcox to 1) allow Plaintiffs to participate in IMP-approved

     congregate services; 2) follow the IMP guidelines by allowing the dozens of

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      Godian-Asatru plaintiffs at EJSP to gather on Godian Holy Days that must take place on

      precise dates, and gather on the closest Saturdays to Godian Holy Days that .do not have to

      take place on precise dates, and to have an outdoor worship area on natural ground with

      plants mid natural seating, organic ingredients for making approved solid and liquid

      sacrifices, and equal time and space to practice and perform rune songs; 3) provide equal

      funding for members and clearly identify the amounts available: 4) allow members to order

      and retain/use ritual iten.1s/ingredients that are equal in comparison to other groups,

      including bm not limited to medita1ion mats and sacred plants, herbs, incense, oils, and

      purification products, 5) allow Plaintiffs to order and retail sufficimt spring Yvater; 6) allow

      plaintiffs to arder and retain safe and religiously acceptable oral hygiene products, ~caps,

      and other essential items: 7} aliow Piaintiffs to set up a group fund tba! aEows them to

      donate and accept dom:i:ions and then readily spend collecrive fund~ on essentiai items rha1

      go beyond ,mat is co·/ercd; 8) issue a memo stating that Plaintiffs are allowed to perform

      group Rune Yoga outdoors on a daily basis in the same vvay Muslims are permitted to pray

      outdoors daily, and fria1 Plaintiffs can bring soap to purify themselves in the shower-s

      outdoors; 9) all other matters in the attached Motion for Preliminary Injunctions.

  242.        Plaintiffs seek injunctive relief in the form of an order compelling the state of New

      Jersey to allow Plaintiffs in the DOC and Plaintiffs on parole and probation to u~e medical

      marijuana. Plaintiffs also seek monetary awards for the time in which they werr deprived

      of pain relief that is acceptable in their religion.

  24 3.       Plaintiffs seek injunctive relief in the fom1 of an order compelling Defendant the

      United State of America to remove marijuana from schedule-one classification.



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  244.       Plaintiffs within the DOC seek monetary damages in the amount of$125 a day for

     each Plaintiff from Defendant Akins for each day from January of 2019 until present that

     he did not give Plaintiffs at EJSP a religious service, equal callouts, and equal access to

     musical equipment.

  245.       Plaintiffs within the DOC seek monetary damages irt the amount of $125 a day for

     each Plaintiff from Defendant Brantley for each day from January of 2019 until present

     that he did not give Plaintiffs at NSP a study group, equal callouts and equal access to

     musical equiprn.em.

  246.       Plaintiffs seek an injunctive order that compels DOC defendants to create safe top

     bunk steps and handles, and allows for Plaintiffs' beliefs to be honored.

  247.      Plaintiffs within DOC seek an injunction compeliing DOC Defendants to albw

     Plaintiffs to neate a non-profit organization wii:h eqEal rights afforded rn foe 01.her

     inmate-run ncn-protit organizations 'Nithin the DOC.

  248.      Plaintiffs reiy on the attached appendix to demonstrate hovv Organic Asatru has

     been requesteci to be practiced vvithin the State of New Jersey, the NJDOC, aud the United

     States of America and its territories.




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                                       Certification of Plaintiffs

We hereby certify that the foregoing claims are not the product of any other case or controversy
surrounding the facts of this case from September 21, 2016 until present. We also certify that the
foregoing statements made by us are true and correct. We understand that we are subject to
punishment if any of the foregoing statements are willfully sworn false.



                                                       Dated:        3-/3-Jo
:r&vin Planker, Plaintiff Number One




                                                       Dated:




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